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 8                            UNITED STATES DISTRICT COURT

 9                    FOR THE CENTRAL DISTRICT OF CALIFORNIA

10                              October 2019 Grand Jury

11   UNITED STATES OF AMERICA,                  CR 2:20-cr-00326-JFW

12             Plaintiff,                       I N D I C T M E N T

13             v.                               [18 U.S.C. § 1962(d): Racketeer
                                                Influenced and Corrupt
14   JOSE LUIS HUIZAR,                          Organizations Conspiracy; 18
                                                U.S.C. §§ 1341, 1343, 1346: Honest
15             Defendant.                       Services Mail and Wire Fraud; 18
                                                U.S.C. § 1952(a)(3): Interstate
16                                              and Foreign Travel in Aid of
                                                Racketeering; 18 U.S.C.
17                                              § 666(a)(1)(B): Bribery Concerning
                                                Programs Receiving Federal Funds;
18                                              18 U.S.C. § 1956(a)(1)(B)(i),
                                                (a)(2)(B)(i): Money Laundering; 18
19                                              U.S.C. § 1014: False Statements to
                                                a Financial Institution; 18 U.S.C.
20                                              § 1001(a)(2): Making False
                                                Statements; 31 U.S.C.
21                                              § 5324(a)(3): Structuring of
                                                Currency Transactions to Evade
22                                              Reporting Requirements; 26 U.S.C.
                                                § 7201: Attempt to Evade and
23                                              Defeat the Assessment and Payment
                                                of Income Tax; 18 U.S.C.
24                                              §§ 981(a)(1)(C), 982(a)(1),
                                                982(a)(2), and 1963, 26 U.S.C.
25                                              § 7301, 28 U.S.C. § 2461(c), 31
                                                U.S.C. § 5317: Criminal
26                                              Forfeiture]
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 1        The Grand Jury charges:

 2                             INTRODUCTORY ALLEGATIONS

 3        At times relevant to this Indictment:

 4   A.   BACKGROUND ON CITY PROCESSES

 5        1.    The City of Los Angeles (the “City”) was a government that
 6   received more than $10,000 per fiscal year in funds from the United
 7   States, including for the years 2013 through 2020, in the form of
 8   grants, contracts, subsidies, loans, guarantees, insurance, and other
 9   forms of federal assistance.      All legislative power in the City was
10   vested in the City Council and was exercised by ordinance subject to
11   a veto by the Mayor.     The City was divided into fifteen City Council
12   Districts covering different geographic areas.         The City Council was
13   composed of fifteen members elected from single-member districts.
14        2.    Within the City, large-scale development projects required
15   a series of applications and approvals prior to, during, and after
16   construction.   These applications and approvals occurred in various
17   City departments, including the City Council, the Planning and Land
18   Use Management (“PLUM”) Committee, the Economic Development
19   Committee, the Los Angeles Planning Department, the Los Angeles
20   Department of Building and Safety (“LADBS”), the Area Planning
21   Commission, the City Planning Commission (“CPC”), and the Mayor’s
22   Office.
23        3.    Each part of the City approval process required official
24   actions by public officials.      These included entitlements, variances,
25   general plan amendments, subsidies, incentives, public benefits,
26   scheduling agendas for the various committees, and overall approvals.
27        4.    Even for projects that were not going through the City
28   approval process, City officials could benefit a project or take

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 1   adverse action against a project by advocating for or against the

 2   project, including by pressuring or seeking to influence other City

 3   officials, departments, business owners, and stakeholders.

 4        5.    Developers typically hired consultants and/or lobbyists to

 5   assist in guiding projects through the development process and City

 6   departments, including by interfacing with the City Council office

 7   that represented the district in which the project was located.

 8        6.    Under the California Political Reform Act, every elected

 9   official and public employee who made or influenced governmental

10   decisions was required to submit a Statement of Economic Interest,

11   also known as the Form 700, annually.

12        7.    To prevent former City officials from exercising or

13   appearing to exercise improper influence over City decisions, the Los

14   Angeles Municipal Code contained “revolving door” restrictions.               The

15   restrictions imposed a lifetime ban on receiving compensation to

16   attempt to influence City action on a specific matter in which the

17   City official personally and substantially participated in during

18   their City service.      The restrictions also imposed a one-year ban, or

19   “cooling-off” period, during which the City official was prohibited

20   from attempting to influence action on a matter pending before the

21   City official’s former City agency for compensation.

22   B.   RELEVANT PERSONS AND ENTITIES

23        (1)   City Officials and Their Associates
24        8.    Defendant JOSE LUIS HUIZAR was the Councilmember for
25   Council District 14 (“CD-14”), first elected in 2005, and re-elected
26   in 2007, 2011, and 2015.      Defendant HUIZAR was the Chair of the PLUM
27   Committee, a body appointed by the City Council President that
28   oversaw many of the most significant commercial and residential

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 1   development projects in the City.       Defendant HUIZAR also served on

 2   the Economic Development Committee.        As a public official employed by

 3   the City, defendant HUIZAR owed a fiduciary duty to the City and

 4   citizens of the City to perform the duties and responsibilities of

 5   defendant HUIZAR’s office free from bias, conflicts of interest,

 6   self-enrichment, self-dealing, concealment, deceit, fraud, kickbacks,

 7   and bribery.

 8        9.      Relative A-1, Relative A-2, and Relative A-3 were close

 9   relatives of defendant HUIZAR.      Beginning no later than 2007,

10   Relative A-1 received a bi-weekly payment of approximately $2,500

11   from Law Firm A as part of her employment with Law Firm A, which

12   tasked her with marketing and business development.          Between

13   approximately July 2012 and January 2016, Relative A-1 also received

14   regular payments from High School A, totaling approximately $150,000,

15   as a fundraiser.    In or about September 2018, Relative A-1 formally

16   announced her candidacy to succeed defendant HUIZAR as Councilmember

17   for CD-14.

18        10.     HUIZAR Associate 1 was a close associate of defendant

19   HUIZAR and operated Company A in the City.

20        11.     HUIZAR Associate 2 was a close associate and fundraiser for

21   defendant HUIZAR, who created and operated a political action

22   committee (“PAC”), PAC B, which at times was used to benefit

23   defendant HUIZAR’s political causes.

24        12.     HUIZAR Associate 3 was a close associate of and fundraiser

25   for defendant HUIZAR and operated a company in the City.

26        13.     George Esparza worked for the City as defendant HUIZAR’s

27   Special Assistant in CD-14 until on or about December 31, 2017.

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 1        14.   City Staffer A-2 worked for the City on defendant HUIZAR’s

 2   staff in CD-14.

 3        15.   Individual 1 was the General Manager of the LADBS until in

 4   or about May 2016.       In or about May 2016, Individual 1 was appointed

 5   by the Mayor as the City’s Deputy Mayor of Economic Development.               In

 6   or about July 2017, Individual 1 retired from the City and officially

 7   began working with George Chiang, consulting and lobbying on behalf

 8   of developers.

 9        (2)   Developers and Their Associates
10        16.   Businessperson A operated businesses in the City relating

11   to major development projects.

12        17.   Developer C, owner of Company C, was a real estate owner

13   and developer who owned commercial properties in the City, including

14   a property located in CD-14, purchased in 2008 for $9 million.

15   Developer C was planning on building a mixed-use development on the

16   property to include 14,000 square feet of commercial space and over

17   200 residential units (“Project C”).

18        18.   Chairman D, a Chinese national, owned Company D which,

19   according to its website, was one of the top real estate companies in

20   China with projects worldwide.       Company D, through its subsidiaries,

21   acquired a property located in CD-14 in 2014, which it planned to

22   redevelop into a mixed-use development that was to include 80,000

23   square feet of commercial space, 650 residential units, and 300 hotel

24   rooms (“Project D”).       Company D expected that the development would

25   be valued at several hundred million dollars.

26        19.   General Manager D was the general manager of Project D

27   until he was terminated from that role in approximately January 2017.

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 1        20.   Chairman E was the Chairman and President of Company E, a

 2   China-based real estate development company with more than $1 billion

 3   invested in projects worldwide and, according to its website, one of

 4   China’s top developers.     Chairman E was a Chinese national and

 5   billionaire.   Company E, through its subsidiaries, acquired two

 6   development properties in the City in 2010 and 2011, respectively,

 7   including a property located in CD-14 (“Property E”).          Chairman E

 8   planned to redevelop Property E into the tallest tower west of the

 9   Mississippi River, specifically, a 77-story skyscraper featuring a

10   mix of residential and commercial uses (“Project E”).

11        21.   Executive Director E was the Executive Director of Company

12   E and worked directly for Chairman E in the City.

13        22.   Employee E was an employee of Company E and worked directly

14   for Chairman E and Executive Director E in the City.          At Chairman E’s

15   direction, Employee E was the sole representative of Holding Company

16   E, a Hong Kong company, in handling Holding Company E’s funds in the

17   United States.

18        23.   Company F, Company G, Company K, and Company L were China-

19   based real estate development companies that each owned development

20   projects located in CD-14.

21        24.   Company H and Company J were domestic real estate

22   development companies that each owned development projects located in

23   CD-14.

24        25.   Company I owned a real estate development project located

25   outside of CD-14 that needed approvals in the PLUM and Economic

26   Development Committees in order to move forward in the City approval

27   process.

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 1        26.     Company M was a domestic real estate development company

 2   that owned multiple development projects nationwide and located in

 3   the City, including Project M located in CD-14.         Project M was a

 4   mixed-use development that was to include 125,000 square feet of

 5   commercial retail and office floor area and approximately 475

 6   live/work dwelling units.      Executive M was a principal partner of

 7   Company M representing Los Angeles.

 8        27.     Developer N owns a domestic real estate development company

 9   with a major development project located in CD-14.

10        (3)     Consultants and Lobbyists
11        28.     George Chiang was a real estate broker and consultant with

12   multiple clients in CD-14.      Beginning in approximately July 2017,

13   Chiang and Individual 1 formally began working together at a real

14   estate brokerage and consulting firm with an office in downtown Los

15   Angeles.

16        29.     Justin Kim was a real estate appraiser and consultant for

17   real estate developers with projects in the City and a major

18   fundraiser for defendant HUIZAR.

19        30.     Lobbyist B was a consultant for real estate developers with

20   projects in the City and a major fundraiser for defendant HUIZAR.

21   Lobbyist B was a principal officer of PAC A, which purported to be a

22   “general purpose” committee, but in fact was formed to primarily

23   benefit Relative A-1’s campaign for the CD-14 seat.          Beginning in

24   2014, Lobbyist B was a consultant hired by Company M to work on

25   Project M.

26        31.     Lobbyist C was a consultant and lobbyist for real estate

27   developers with projects in the City, including Company H, and a

28   close associate of the Executive Director of Labor Organization A, an

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 1   unincorporated association of individuals and labor organizations

 2   that included labor unions.

 3        32.   These Introductory Allegations are incorporated by

 4   reference into each count of this Indictment.

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 1                                     COUNT ONE

 2                               [18 U.S.C. § 1962(d)]

 3   A.   THE RACKETEERING ENTERPRISE

 4        At times relevant to this Indictment:
 5        33.   Defendant HUIZAR, Esparza, Individual 1, Chiang, and others
 6   known and unknown to the Grand Jury, were members and associates of
 7   the CD-14 Enterprise, a criminal organization whose members and
 8   associates engaged in, among other things: bribery; mail and wire
 9   fraud, including through the deprivation of the honest services of
10   City officials and employees; extortion; interstate and foreign
11   travel in aid of racketeering; money laundering; structuring; and
12   obstruction of justice.     The CD-14 Enterprise operated within the
13   Central District of California and elsewhere.
14        34.   The CD-14 Enterprise, including its leaders, members, and
15   associates, constituted an “enterprise,” as defined by Title 18,
16   United States Code, Section 1961(4), that is, a group of individuals
17   associated in fact.      The CD-14 Enterprise constituted an ongoing
18   organization whose members functioned as a continuing unit for a
19   common purpose of achieving the objectives of the enterprise.            The
20   CD-14 Enterprise engaged in, and its activities affected, interstate
21   and foreign commerce.
22   B.   OBJECTIVES OF THE ENTERPRISE
23        35.   The objectives of the CD-14 Enterprise included, but were
24   not limited to, the following:
25              a.   enriching the members and associates of the CD-14
26   Enterprise through means that included: bribery; extortion; and mail
27   and wire fraud, including through the deprivation of the honest
28   services of City officials and employees;

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 1              b.    advancing the political goals and maintaining control

 2   and authority of the CD-14 Enterprise by elevating members and

 3   associates of the CD-14 Enterprise to, and maintaining those

 4   individuals’ placement in, prominent elected office, through means

 5   that included bribery and mail and wire fraud, including through the

 6   deprivation of the honest services of City officials and employees;

 7              c.    concealing the financial activities of the CD-14

 8   Enterprise, through means that included money laundering and

 9   structuring; and

10              d.    protecting the CD-14 Enterprise by concealing the

11   activities of its members and associates and shielding the CD-14

12   Enterprise from detection by law enforcement, the City, the public,

13   and others, through means that included obstructing justice.

14   C.   RICO CONSPIRACY

15        36.   Beginning on a date unknown to the Grand Jury, but no later
16   than February 2013, and continuing to the present, in Los Angeles
17   County, within the Central District of California and elsewhere,
18   defendant HUIZAR, a person employed by and associated with the CD-14
19   Enterprise, which engaged in and its activities affected interstate
20   and foreign commerce, conspired with others known and unknown to the
21   Grand Jury, including Individual 1, Esparza, and Chiang, to
22   unlawfully and knowingly violate Title 18, United States Code,
23   Section 1962(c), that is, to conduct and participate, directly and
24   indirectly, in the conduct of the affairs of the CD-14 Enterprise
25   through a pattern of racketeering activity, as that term is defined
26   in Title 18, United States Code, Sections 1961(1) and 1961(5),
27   consisting of multiple acts:
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 1              a.    involving bribery, in violation of California Penal

 2   Code Sections 31, 67, 67.5(b), 68 and 182(a)(1);

 3              b.    indictable under Title 18, United States Code,

 4   Sections 1341, 1343, and 1346 (Mail and Wire Fraud, including through

 5   the Deprivation of Honest Services);

 6              c.    indictable under Title 18, United States Code, Section

 7   1951 (Extortion);

 8              d.    indictable under Title 18, United States Code, Section

 9   1952 (Interstate and Foreign Travel in Aid of Racketeering);

10              e.    indictable under Title 18, United States Code,

11   Sections 1956 and 1957 (Money Laundering);

12              f.    indictable under Title 18, United States Code, Section

13   1512 (Obstruction of Justice and Witness Tampering); and

14              g.    indictable under Title 31, United States Code, Section

15   5324 (Structuring Transactions to Evade Reporting Requirement).

16        37.   It was a further part of the conspiracy that defendant

17   HUIZAR agreed that a conspirator would commit at least two acts of

18   racketeering activity in the conduct of the affairs of the

19   enterprise.

20   D.   MEANS BY WHICH THE OBJECT OF THE CONSPIRACY WAS TO BE

21        ACCOMPLISHED
22        38.   Defendant HUIZAR and other members and associates of the
23   CD-14 Enterprise agreed to conduct the affairs of the CD-14
24   Enterprise through the following means, among others:
25              a.    In order to enrich its members and associates, the CD-
26   14 Enterprise operated a pay-to-play scheme within the City, wherein
27   public officials demanded and solicited financial benefits from
28   developers and their proxies in exchange for official acts.

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 1   Specifically, through a scheme that involved bribery, mail and wire

 2   fraud, and extortion, defendant HUIZAR, Esparza, Individual 1, and

 3   other City officials demanded, solicited, accepted, and agreed to

 4   accept from developers and their proxies, including Chiang, some

 5   combination of the following types of financial benefits, among

 6   others: (1) cash; (2) consulting and retainer fees; (3) favorable

 7   loans; (4) gambling chips at casinos; (5) political contributions;

 8   (6) flights on private jets and commercial airlines; (7) stays at

 9   luxury hotels; (8) expensive meals; (9) spa services; (10) event

10   tickets to concerts, shows, and sporting events; (11) escort and

11   prostitution services; and (12) other gifts.

12              b.    In exchange for such financial benefits from

13   developers and their proxies, defendant HUIZAR, Esparza, Individual

14   1, and other City officials agreed to perform and performed the

15   following types of official acts, among others: (1) presenting

16   motions and resolutions in various City committees to benefit

17   projects; (2) voting on projects in various City committees,

18   including the PLUM Committee, and City Council; (3) taking, or not

19   taking, action in the PLUM Committee to expedite or delay the

20   approval process and affect project costs; (4) exerting pressure on

21   other City officials to influence the approval process of projects;

22   (5) using their office to negotiate with and exert pressure on labor

23   unions to resolve issues on projects; (6) leveraging voting and

24   scheduling power to pressure developers with projects pending before

25   the City to affect their business practices; and (7) introducing or

26   voting on City resolutions to enhance the professional reputation and

27   marketability of businesspersons in the City.

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 1              c.    To hide the money, bribes, and other personal benefits

 2   that flowed from the developers and their proxies to the public

 3   officials, the CD-14 Enterprise engaged in money laundering and other

 4   concealment activities.      Specifically, members and associates of the

 5   CD-14 Enterprise engaged in the following activities, among others:

 6   (1) storing large amounts of cash in one’s residence; (2) providing

 7   cash to family members and associates; (3) directing payments to

 8   family members, associates, and entities to avoid creating a paper

 9   trail between the developers, their proxies and public officials; (4)

10   using family members and associates to pay expenses; (5) depositing

11   and exchanging cash at ATMs and banks in amounts under $10,000 to

12   avoid bank reporting requirements; and (6) failing to disclose

13   payments and benefits received on Forms 700 and on tax returns.

14              d.    In order to maintain its power and control, members

15   and associates of the CD-14 Enterprise used their positions and

16   relationships to illicitly ensure it maintained a political power

17   base filled with their allies and obtained significant official City

18   positions, resources, and financial support.          Specifically, through

19   bribery, members and associates of the CD-14 Enterprise raised funds

20   from developers and their proxies with projects in CD-14 for the

21   following, among others: (1) defendant HUIZAR’s re-election campaigns

22   and officeholder accounts; (2) Relative A-1’s election campaign for

23   the CD-14 seat; and (3) PACs designed to benefit Relative A-1’s

24   election campaign.

25              e.    In order to protect the CD-14 Enterprise and avoid

26   detection by law enforcement, the City, the public, and others,

27   members and associates of the CD-14 Enterprise engaged in the

28   following conduct: (1) lying to law enforcement in an effort to

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 1   impede the investigation into criminal conduct of the CD-14

 2   Enterprise; (2) attempting to corruptly influence the statements of

 3   others to law enforcement; and (3) using encrypted messaging

 4   applications, including those utilizing a self-destructing message

 5   system, to communicate about the affairs of the CD-14 Enterprise.

 6   E.   OVERT ACTS

 7        39.    In furtherance of the conspiracy and to accomplish the
 8   object of the conspiracy, on or about the following dates, defendant
 9   HUIZAR and others known and unknown to the Grand Jury, committed and
10   caused to be committed various overt acts within the Central District
11   of California, and elsewhere, including the following:
12                            (1)   Project E Bribery Scheme
13        Overt Act No. 1:          In or around February 2013, Individual 1,
14   then the Interim General Manager of LADBS, introduced defendant
15   HUIZAR and Esparza to Chairman E, who owned Company E and Property E
16   (located in CD-14), and another property located in a different City
17   district.
18        Benefits to Defendant HUIZAR at Casinos
19        Overt Act No. 2:          In March 2013, defendant HUIZAR, Esparza,
20   Chairman E, and Executive Director E traveled on a private jet to a
21   casino in Las Vegas, Nevada.
22        Overt Act Nos. 3-21:       Between March 2013 and February 2017,
23   defendant HUIZAR traveled to Las Vegas casinos with Chairman E on the
24   following dates, and was offered and/or accepted benefits, including
25   flights, hotel rooms, spa services, meals, alcohol,
26   prostitution/escort services, and casino gambling chips in the
27   following approximate amounts:
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 1       Overt       Date(s)        Casino(s)     Expenses     Gambling    Gambling
        Act No.                                    (group)       chips       chips
 2                                                             (HUIZAR)   (Esparza)
           3       03/22/2013       Casino 4      $56,704      $10,000      $2,000
 3
                       to
 4                 03/24/2013
           4       12/30/2013       Casino 4      $54,141      $10,000      $2,000
 5                     to
                   01/02/2014
 6         5       06/07/2014       Casino 1/     $61,635      $10,000      $2,000
 7                     to            Casino 4
                   06/08/2014
 8         6       06/14/2014       Casino 1/     $17,844      $10,000      $2,000
                       to            Casino 4
 9                 06/15/2014
           7       08/22/2014       Casino 1      $138,233     $13,500      $2,000
10                     to
11                 08/25/2014
           8       03/13/2015       Casino 1      $30,952      $20,000      $2,000
12                     to
                   03/14/2015
13         9       03/28/2015       Casino 1      $39,185      $10,000      $2,000
                       to
14                 03/30/2015
15         10      05/01/2015       Casino 1       $2,676      $10,000      $2,000
                       to
16                 05/03/2015
           11      07/07/2015       Casino 1      $32,682      $65,000      $2,000
17                     to
                   07/08/2015
18                                                $96,681      $10,000      $2,000
           12      10/28/2015       Casino 2
19                     to
                   10/30/2015
20         13      12/11/2015       Casino 3      $35,974      $10,000      $2,000
                       to
21                 12/13/2015
           14      02/12/2016       Casino 2      $60,798      $10,000      $2,000
22
                       to
23                 02/13/2016
           15      02/26/2016       Casino 3      $40,095      $10,000      $2,000
24                     to
                   02/28/2016
25         16      04/30/2016       Casino 1/     $127,256     $10,000      $2,000
                       to            Casino 2
26
                   05/02/2016
27         17      05/05/2016       Casino 1/     $16,475      $10,000      $2,000
                       to            Casino 3
28                 05/07/2016

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 1       Overt       Date(s)        Casino(s)     Expenses     Gambling    Gambling
        Act No.                                    (group)       chips       chips
 2                                                             (HUIZAR)   (Esparza)
           18       05/13/2016      Casino 1        $649       $10,000      $2,000
 3
                        to
 4                  05/16/2016
           19       07/14/2016      Casino 3       $1,123      $10,000      $2,000
 5                      to
                    07/17/2016
 6         20       08/05/2016      Casino 2      $60,463      $11,000      $2,000
 7                      to
                    08/07/2016
 8         21       02/04/2017      Casino 2/     $16,822      $10,000      $2,000
                        to           Casino 3
 9                  02/06/2017
                                        TOTAL:    $890,388     $259,500     $38,000
10

11        Defendant HUIZAR Helps Save Individual 1’s Job and then Receives
12        $600,000 to Settle Defendant HUIZAR’s Sexual Harassment Lawsuit
13        During His Reelection Campaign
14        Overt Act No. 22:        On October 7, 2013, Individual 1 e-mailed
15   defendant HUIZAR “talking points” regarding an upcoming motion to
16   prevent the consolidation of the Planning Department and the LADBS,
17   which would cost Individual 1’s powerful position as Interim General
18   Manager of LADBS.
19        Overt Act No. 23:        On October 8, 2013, at Individual 1’s
20   request, defendant HUIZAR presented an amended motion and spoke in
21   favor of preventing the consolidation of the two departments, and
22   Individual 1 expressed his gratitude to defendant HUIZAR in a text
23   message: “You are such an eloquent speaker! UNBELIEVABLE! Please
24   accept my deepest, most sincere gratitude. Believe me or not, I have
25   [t]ears in my eyes!      I am actually crying! Thank you, thank you,
26   thank you!”.
27        Overt Act No. 24:        On October 17, 2013, defendant HUIZAR and
28   Individual 1 discussed the sexual harassment lawsuit filed against
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 1   defendant HUIZAR, and traded text messages about how Individual 1

 2   would facilitate Chairman E’s assistance with the lawsuit.

 3   Specifically, Individual 1 wrote: “The chairman [E] asks if there is

 4   anything that he can help.”

 5        Overt Act No. 25:       On October 18, 2013, Individual 1

 6   coordinated a meeting between defendant HUIZAR and Chairman E to
 7   discuss Chairman E’s financial help regarding the lawsuit.
 8        Overt Act No. 26:       On November 5, 2013, Individual 1 e-mailed
 9   defendant HUIZAR a motion to present regarding the proposed
10   consolidation of the City departments, and wrote to defendant HUIZAR
11   in a text message: “I heard that the item (motion) may go consent
12   this morning at council. If it goes consent, then I guess we do not
13   need to do the amendment. If it is called special, then can you
14   please introduce the amendment? Please advise.”
15        Overt Act No. 27:       On November 6, 2013, defendant HUIZAR
16   forwarded the motion and e-mail from Individual 1 to another public
17   official, writing: “Don’t mention I got this from [Individual 1].
18   Please print and have ready for me to submit to council today on this
19   item.”
20        Overt Act No. 28:       On December 19, 2013, Individual 1 forwarded
21   by e-mail, a “HUIZAR Re-Election Campaign – Donation Form” to
22   Chairman E, who was a foreign national prohibited from contributing
23   to a U.S. election.
24        Overt Act No. 29:       On June 14, 2014, Individual 1 sent a text
25   message to defendant HUIZAR, writing: “I’ll confirm the Vegas trip
26   with [Chairman E] and report back to you.”
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 1        Overt Act No. 30:       On July 18, 2014, Individual 1, via text

 2   message, continued coordinating discussions between defendant HUIZAR

 3   and Chairman E regarding the settlement funds.

 4        Overt Act No. 31:       In or around August 2014, defendant HUIZAR,

 5   Esparza, and Executive Director E communicated by e-mail with
 6   Attorney E, who was retained by Executive Director E to draft and
 7   execute the necessary paperwork to effectuate the financial
 8   transactions transferring funds to defendant HUIZAR.
 9        Overt Act No. 32:       On August 17, 2014, defendant HUIZAR e-
10   mailed Esparza, Executive Director E, and Attorney E regarding
11   settlement funds for the sexual harassment lawsuit, writing:
12   “[P]laintiff attorney is asking for a deadline of Tuesday noon to
13   sign settlement. otherwise they pull the settlement offer. let me
14   know as soon as money has been transferred and available. i just need
15   to know it is there before we sign it.”
16        Overt Act No. 33:       On August 20, 2014, Individual 1 and
17   defendant HUIZAR, via text messages, discussed coordinating meetings
18   with Chairman E to discuss the settlement funds.
19        Overt Act No. 34:       On or about August 22, 2014, defendant
20   HUIZAR executed a Promissory Note with Holding Company E, wherein
21   Holding Company E agreed to wire $600,000 to defendant HUIZAR.            The
22   Promissory Note provided that the principal and all accrued interest
23   would be due and payable as one “balloon payment of $800,000” no
24   later than August 22, 2020.
25        Overt Act No. 35:       On August 25, 2014, Individual 1 reached out
26   to defendant HUIZAR by text message regarding settlement fund
27   discussions.
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 1        Overt Act No. 36:       On September 3, 2014, defendant HUIZAR

 2   communicated with Attorney E by e-mail regarding the transfer of

 3   funds for his settlement.      Specifically, after Attorney E assured

 4   defendant HUIZAR that the Promissory Note would remain concealed,

 5   defendant HUIZAR responded: “can you find out before we go if I can

 6   simply state the purpose of loan is: ‘for personal use.’ Would that

 7   be sufficient[?] I obviously do not want to state that it is for

 8   settlement.”

 9        Overt Act No. 37:       On September 15, 2014, defendant HUIZAR

10   instructed Individual 1: “hold off on asking chairman [E]. George
11   [Esparza] told me that [Executive Director E] was frustrated that we
12   keep asking him. [Executive Director E] said that chairman [E] will
13   call china tonight. Lets wait til tomorrow to see what happens.”
14        Overt Act No. 38:       On September 17, 2014, defendant HUIZAR and
15   Chairman E caused Bank 1 to open a Certificate of Deposit account
16   under Holding Company E (“the CD Account”), listing defendant HUIZAR
17   and Holding Company E as “owner,” and listing Employee E as the
18   authorized signor.
19        Overt Act No. 39:       On September 19, 2014, Individual 1 wrote to
20   defendant HUIZAR: “Everything good sir?” Defendant HUIZAR confirmed:
21   “Yes” and “Thank u.”
22        Overt Act No. 40:       Before on or about September 22, 2014,
23   Chairman E caused $600,000 to be wired from a bank account in Hong
24   Kong to an Interest on Lawyer Trust Account at a bank in Arcadia,
25   California, and subsequently caused a check to be issued from that
26   account to Holding Company E for $600,000.
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 1        Overt Act No. 41:       On September 22, 2014, Chairman E caused

 2   Holding Company E to deposit the $600,000 check into the CD Account

 3   as a Certificate of Deposit.

 4        Overt Act No. 42:       On September 23, 2014, defendant HUIZAR

 5   caused Bank 1 to issue a loan to defendant HUIZAR for $570,000, using
 6   the $600,000 in the CD Account provided by Chairman E as collateral
 7   for the loan.    The loan provided for 60 monthly payments, with the
 8   total amount to be repaid as $656,687.47, and the first interest
 9   payment due on October 23, 2014.
10        Overt Act No. 43:       On September 23, 2014, defendant HUIZAR
11   authorized a transfer of $570,000 from his personal loan account at
12   Bank 1 to a bank account for the law firm that represented defendant
13   HUIZAR in the sexual harassment lawsuit, to pay for the settlement of
14   the lawsuit.
15        Overt Act No. 44:       On December 4, 2014, Employee E forwarded an
16   e-mail containing a request from Bank 1 sent to Employee E and
17   defendant HUIZAR regarding the loan to Executive Director E and
18   another Company E employee.
19        Overt Act No. 45:       On December 4, 2014, defendant HUIZAR sent a
20   text message to Esparza, writing: “Tell [Executive Director E] that
21   [Employee E] needs to send address of foreign company to [Bank 1]. I
22   got notice today that they have been asking her for it and if they
23   don’t get it, it will instigate an audit and we don’t want that. Have
24   her send address tomorrow.”
25        Overt Act No. 46:       On May 10, 2016, defendant HUIZAR forwarded
26   an e-mail request from Bank 1 regarding paperwork for the loan to
27   Chairman E, via Esparza and Executive Director E.
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 1           Overt Act No. 47:    On December 12, 2018, defendant HUIZAR

 2   caused himself to be enriched by $575,269.61, by failing to make

 3   interest payments on his personal loan for three consecutive months,

 4   and thereby allowing the collateral Chairman E provided to Bank 1 to

 5   be applied to the remaining balance defendant HUIZAR owed on the

 6   loan.

 7           Requests to Defendant HUIZAR
 8           Overt Act No. 48:    On May 17, 2013, Chairman E caused an

 9   employee of Company E to e-mail Esparza requesting a “favor” from
10   defendant HUIZAR relating to a visa application for another Company E
11   employee.
12           Overt Act No. 49:    In or around May 17, 2013, defendant HUIZAR
13   signed a letter on official letterhead addressed to the United States
14   Consulate General in Guangzhou, China, supporting a visa application
15   for the Director of Finance for Company E.
16           Overt Act No. 50:    On June 4, 2013, Chairman E sent an e-mail
17   to defendant HUIZAR, enlisting his help regarding Chairman E’s son’s
18   admission to a Southern California university, writing: “I would be
19   grateful if you could do me a favor to help contact with [the school]
20   about my son’s [application] status.”        Thereafter, defendant HUIZAR
21   facilitated a meeting between Chairman E’s son and a high-ranking
22   school official.
23           Overt Act No. 51:    On July 13, 2013, Company E, through a
24   Company E employee, asked via e-mail for defendant HUIZAR to arrange
25   a meeting with the head of a labor union, which had a dispute related
26   to Property E.
27           Overt Act No. 52:    On September 27, 2013, as part of Chairman
28   E’s ongoing effort to enlist defendant HUIZAR’s help to negotiate and

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 1   resolve a parking lot dispute with the owners of a plot of land

 2   adjacent to Property E, defendant HUIZAR and Individual 1 discussed

 3   scheduling meetings via text messages.

 4           Overt Act No. 53:    In April 2014, to benefit Chairman E’s

 5   reputation in the business community, defendant HUIZAR introduced and
 6   signed a resolution before the City Council recognizing Chairman E
 7   for his achievements and contributions to the economy of CD-14, which
 8   the City Council signed and adopted.
 9           Overt Act No. 54:    On June 27, 2017, at defendant HUIZAR’s
10   direction, Esparza put a Company E employee in touch with a CD-14
11   staff member to discuss and facilitate resolving union issues at
12   Chairman E’s two hotels in Los Angeles.
13           Overt Act No. 55:    On March 10, 2016, Chairman E sent an e-mail
14   to Executive Director E regarding the “land-use planning” for
15   Property E and the engagement of a consulting firm for Project E.
16           Overt Act No. 56:    On July 24, 2016, Executive Director E
17   discussed the expansion project in a text message conversation with a
18   consultant.    After the consultant asked whether they were “supposed
19   to get together with the Chairman [E] on Thursday and go over the
20   expansion of two hotels,” Executive Director E responded: “Chairman
21   [E] wants a conference call with you and [Individual 1] on Monday.”
22           Overt Act No. 57:    On August 4, 2016, defendant HUIZAR,
23   Individual 1, and Chairman E met with senior officials from the
24   Planning Department, senior CD-14 staff members, and members of
25   Chairman E’s team to discuss the expansion of Property E, including
26   Chairman E’s interest in pursuing Transient Occupancy Tax rebates,
27   Transfer of Floor Area Rights (“TFAR”), and other incentives from the
28   City.

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 1        Overt Act No. 58:       In or around August 2016, on a private jet

 2   flight back from Las Vegas, Chairman E requested defendant HUIZAR’s

 3   assistance in hiring a consultant on Project E, and defendant HUIZAR

 4   agreed to help.

 5        Overt Act No. 59:       On August 15, 2016, Esparza texted defendant

 6   HUIZAR regarding Project E: “Reminder boss to decide what land use
 7   expediters you want to recommend to the Chairman [E].”
 8        Overt Act No. 60:       On October 19, 2016, Executive Director E
 9   forwarded an e-mail and attachment prepared by Chairman E to
10   defendant HUIZAR regarding Project E.        The attachment was a draft
11   letter from defendant HUIZAR to Chairman E on defendant HUIZAR’s
12   official letterhead, referencing Chairman E’s “application for the
13   Los Angeles Highest Building Project [Project E]” and a recent
14   meeting attended by defendant HUIZAR, Individual 1, and other City
15   officials regarding Project E.
16        Overt Act No. 61:       On October 20, 2016, defendant HUIZAR signed
17   the official letter after revising it to remove the reference to
18   Individual 1 and noting: “The proposed project may result in one of
19   the largest buildings in the City of Los Angeles.”          At defendant
20   HUIZAR’s direction, Esparza then sent the letter by e-mail to
21   Chairman E.
22        Overt Act No. 62:       On December 16, 2016, Esparza forwarded an
23   e-mail to defendant HUIZAR from City Staffer A-2, listing a number of
24   consultants, writing: “Hi Boss, Here is the list of land use
25   consultants per [City Staffer A-2]’s past recommendations. Chairman
26   [E] would like us to schedule interviews on Monday.”
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 1        Overt Act No. 63:       On December 19, 2016, defendant HUIZAR sent

 2   the list of consultants to Executive Director E by e-mail, who then

 3   forwarded the list to Chairman E by e-mail.

 4        Overt Act No. 64:       On May 9, 2017, in a telephone call, Esparza

 5   and Executive Director E discussed the financial relationship between
 6   Chairman E and defendant HUIZAR.       Specifically, Executive Director E
 7   stated that Chairman E expected to lay out “everything in front of”
 8   defendant HUIZAR at an upcoming trip to Cabo San Lucas, which
 9   referred to the assistance Chairman E expected from defendant HUIZAR
10   on Project E.    Executive Director E stated that “otherwise Chairman
11   [E] [will] ask [defendant HUIZAR] to ... pay back that $600,000
12   already.”   Esparza stated that defendant HUIZAR is “not going to do
13   that either,” referring to paying back the $600,000.           Executive
14   Director E then responded: “Chairman [E] will push him.”
15        Overt Act No. 65:        On May 9, 2017, in a telephone call between
16   Esparza and another CD-14 staffer, Esparza stated: “Chairman [E]
17   should have all the leverage in the world [be]cause of what
18   [defendant HUIZAR] owes [Chairman E].”
19        Overt Act No. 66:       On June 11, 2018, Company E filed an
20   application with the Planning Department to expand and redevelop
21   Property E, which included, among other things, a request for a TFAR
22   entitlement, which would need approval in the PLUM Committee and City
23   Council.
24        Overt Act No. 67:       In or around August 2018, Chairman E paid
25   for a trip for defendant HUIZAR to a golf resort in Northern
26   California, including private jet round trip transportation,
27   accommodations, meals, and other costs.        During the trip, Chairman E
28   agreed to support Relative A-1’s campaign for the CD-14 seat,

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 1   including by hosting a fundraiser in November 2018 and pledging to

 2   raise or contribute $50,000 to benefit the campaign.

 3        Overt Act No. 68:         On September 4, 2018, during a conversation

 4   at Chiang’s and Individual 1’s office, Individual 1 and Chiang
 5   discussed fundraising for Relative A-1’s campaign, including the
 6   contemplated $50,000 contribution by Chairman E.          Individual 1 stated
 7   that defendant HUIZAR and Relative A-1 have “both Chairmen,”
 8   referring to the fact that both Chairman E and Chairman D had
 9   committed to financially support Relative A-1’s election campaign.
10        Overt Act No. 69:         On September 24, 2018, defendant HUIZAR met
11   with Businessperson A, who was then working at the direction of the
12   FBI, at a restaurant in Los Angeles.        During the meeting, defendant
13   HUIZAR told Businessperson A that Chairman E was going to host a
14   fundraising event for Relative A-1 at one of Chairman E’s hotels on
15   November 9, 2018, with the goal of raising $100,000.
16                            (2)   Project C Bribery Scheme
17        Overt Act No. 70:         On August 8, 2016, after Labor Organization
18   A filed an appeal that prevented Project C from progressing through
19   the City approval process, Developer C asked Kim to obtain defendant
20   HUIZAR’s assistance in dealing with the appeal, which could
21   ultimately reach the PLUM Committee, which defendant HUIZAR chaired.
22        Overt Act No. 71:         On August 9, 2016, Developer C sent a copy
23   of the appeal to Kim by e-mail, which Kim then forwarded to Esparza
24   by e-mail.
25        Overt Act No. 72:         On September 1, 2016, defendant HUIZAR
26   received a written brief from City Staffer A-2 regarding Project C,
27   which noted that “Justin Kim will be requesting your support in
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 1   denying the appeal,” and that a certain component of the appeal would

 2   reach the PLUM Committee and City Council.

 3        Overt Act No. 73:       On September 1, 2016, Esparza, Kim, and

 4   defendant HUIZAR had dinner together and then visited a Korean
 5   karaoke establishment, where Kim asked defendant HUIZAR for
 6   assistance with the appeal on Project C, and defendant HUIZAR agreed
 7   to help.   Kim then called Developer C and asked him to join the group
 8   at karaoke, which Developer C did.
 9        Overt Act No. 74:       On September 2, 2016, Esparza and Kim met
10   for lunch in Los Angeles.      At defendant HUIZAR’s direction, Esparza
11   expressed to Kim that defendant HUIZAR would not help Project C for
12   free and that defendant HUIZAR would require a financial benefit in
13   exchange for his help ensuring Project C moved forward through the
14   City approval process.
15        Overt Act No. 75:       On September 3, 2016, Kim and Developer C
16   met at a bowling alley in Little Tokyo, where Kim conveyed to
17   Developer C the message from defendant HUIZAR and Esparza, namely,
18   that defendant HUIZAR’s assistance on Project C would require that
19   defendant HUIZAR receive a financial benefit.
20        Overt Act No. 76:       On January 17, 2017, defendant HUIZAR,
21   Esparza, Kim, and Developer C’s business associates met at defendant
22   HUIZAR’s City Hall office to discuss, among other things, Project C.
23   During a private meeting that included only defendant HUIZAR,
24   Esparza, and Kim, Kim again asked defendant HUIZAR for assistance
25   with the appeal, and defendant HUIZAR responded that he could help.
26   Defendant HUIZAR also stated that defendant HUIZAR wanted Kim to be a
27   major supporter when Relative A-1 ran for the CD-14 seat.
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 1        Overt Act No. 77:         In or around January 2017, at the direction

 2   of defendant HUIZAR, Esparza obtained information indicating that

 3   resolving the appeal on Project C would save Developer C an estimated

 4   $30 million on development costs.

 5        Overt Act No. 78:         On January 19, 2017, defendant HUIZAR and

 6   Esparza discussed asking Developer C for $ 1.2 million to resolve the
 7   Labor Organization A appeal, with $500,000 to be paid to defendant
 8   HUIZAR, $500,000 to be paid to Kim, and $200,000 to be paid to
 9   Esparza.
10        Overt Act No. 79:         In or around January 2017, based on his
11   conversations with defendant HUIZAR and Lobbyist C, Esparza told Kim
12   that it would cost approximately $1.2 million to $1.4 million to
13   convince defendant HUIZAR to resolve the appeal and allow Project C
14   to move forward in the City approval process.
15        Overt Act No. 80:         Between February 2, 2017 and February 10,
16   2017, Esparza had individual text message conversations with
17   defendant HUIZAR and Kim, discussing the negotiation of the bribe
18   payment and the amount of the bribe payment from Developer C to
19   defendant HUIZAR.
20        Overt Act No. 81:         In approximately February 2017, Esparza and
21   Kim had discussions regarding the negotiation of the bribe amount.
22   Kim conveyed a counteroffer of $500,000 cash from Developer C for
23   defendant HUIZAR.        Esparza then conveyed this counteroffer to
24   defendant HUIZAR, stating specifically that defendant HUIZAR would
25   obtain $300,000 total and Kim would receive $200,000 total for
26   facilitating the bribery scheme.
27        Overt Act No. 82:         In approximately February 2017, Esparza and
28   defendant HUIZAR discussed the appeal, and defendant HUIZAR

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 1   instructed Esparza to speak to Lobbyist C, a close associate of the

 2   Executive Director of Labor Organization A.

 3        Overt Act No. 83:       On February 14, 2017, Esparza had a text

 4   message conversation with Lobbyist C about setting up a private
 5   meeting between Lobbyist C and defendant HUIZAR.          Specifically,
 6   Esparza wrote: “My boss [defendant HUIZAR] asked if you guys can have
 7   a one on one on Tuesday at 830am?... Just you and the Councilman.”
 8        Overt Act No. 84:       On February 21, 2017, defendant HUIZAR and
 9   Esparza discussed the appeal, and defendant HUIZAR stated that he
10   would talk to Lobbyist C to encourage Labor Organization A to
11   withdraw the appeal.      Defendant HUIZAR also told Esparza that the
12   appeal could be denied in the PLUM Committee.         Esparza then
13   documented this conversation via notes on his phone.
14        Overt Act No. 85:       In approximately February 2017, defendant
15   HUIZAR discussed the appeal with Lobbyist C, and conveyed that
16   defendant HUIZAR would oppose the appeal in the PLUM committee.
17   Lobbyist C agreed to discuss the issue with the Executive Director of
18   Labor Organization A.
19        Overt Act No. 86:       On February 22, 2017, Esparza had a text
20   message conversation with Lobbyist C about a private meeting at
21   defendant HUIZAR’s request.      Specifically, Esparza wrote: “I still
22   need to talk to you one on one per my bosses [defendant HUIZAR]
23   request.”
24        Overt Act No. 87:       On March 1, 2017, Esparza had a text message
25   conversation with Lobbyist C about the status of the appeal.
26        Overt Act No. 88:       On March 3, 2017, Lobbyist C sent Esparza a
27   text message regarding the appeal on Project C, writing: “Appeal
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 1   dropped today.”    Esparza then informed Kim that defendant HUIZAR had

 2   held up his end of the bargain and helped resolve the appeal.

 3        Overt Act No. 89:       In early March 2017, Kim informed Developer

 4   C that defendant HUIZAR held up his end of the agreement and helped
 5   resolve the appeal.
 6        Overt Act No. 90:       On March 14, 2017, Kim met with Developer C
 7   at Developer C’s office in Los Angeles and received cash from
 8   Developer C, which was intended to be a bribe Developer C agreed to
 9   pay for defendant HUIZAR’s assistance in resolving the appeal.
10        Overt Act No. 91:       On March 14, 2017, Esparza sent a text
11   message to Kim that asked: “Address again please.”          Kim provided the
12   address for Developer C’s office, which Esparza entered into his Waze
13   application.    Esparza then texted Kim: “I’m on the corner. Wait for u
14   in my car.”
15        Overt Act No. 92:       On March 14, 2017, Kim met with Esparza in a
16   car outside Developer C’s office and gave Esparza cash to deliver to
17   defendant HUIZAR, but Kim kept some cash for himself for facilitating
18   the bribe payment.
19        Overt Act No. 93:       On March 14, 2017, Esparza sent a text
20   message to defendant HUIZAR, asking: “Are you home?”           Defendant
21   HUIZAR responded: “Yes.”      Esparza then wrote: “Can I stop by? Just
22   finished meeting with Justin [Kim].”
23        Overt Act No. 94:       On March 14, 2017, defendant HUIZAR and
24   Esparza met at defendant HUIZAR’s residence.          Esparza told defendant
25   HUIZAR that Developer C had provided $400,000 in cash, and that
26   Developer C would provide the remaining $100,000 later.           Esparza
27   stated that Kim had provided $200,000 of that cash to Esparza.             At
28   the meeting, Esparza showed defendant HUIZAR a liquor box filled with

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 1   cash.    Defendant HUIZAR told Esparza to hold on to and hide the money

 2   at Esparza’s residence until defendant HUIZAR asked for it.

 3   Defendant HUIZAR told Esparza that Esparza could have $100,000 of the

 4   $300,000 total amount defendant HUIZAR expected to receive from

 5   Developer C, meaning defendant HUIZAR’s share of the bribe was

 6   $200,000.

 7           Overt Act No. 95:     In or around July 2017, Developer C met with

 8   Kim at Developer C’s office in Los Angeles and, intending it to be a
 9   bribe to defendant HUIZAR, provided Kim with an additional $100,000
10   in cash, which Kim kept for himself.
11           Overt Act No. 96:     On December 28, 2017, defendant HUIZAR and
12   Esparza met at City Hall and, in defendant HUIZAR’s private bathroom,
13   discussed various topics, including Esparza’s interviews with the FBI
14   and the cash bribe Esparza was holding for defendant HUIZAR.
15   Specifically, during that conversation, defendant HUIZAR stated: “I
16   have a lot of expenses now that [Relative A-1]’s running. [Relative
17   A-1] is not going to be working anymore.... Um, that is mine, right?
18   ... That is mine.”       Esparza affirmed the $200,000 cash bribe money
19   was defendant HUIZAR’s.       Defendant HUIZAR and Esparza agreed to wait
20   until April 1, 2018, for Esparza to provide the $200,000 cash owed to
21   defendant HUIZAR, to allow some cooling off after Esparza’s
22   interviews with the FBI in hopes that it would decrease the
23   likelihood of law enforcement discovering the cash.
24           Overt Act No. 97:     In or around April 2018, defendant HUIZAR
25   and Esparza communicated by telephone and agreed to postpone their
26   meeting to deliver defendant HUIZAR’s $200,000 in bribery cash to
27   October 1, 2018.
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 1        Overt Act No. 98:       On September 30, 2018, as part of a series

 2   of unanswered text messages he sent to Esparza regarding the expected

 3   delivery of defendant HUIZAR’s cash bribe, defendant HUIZAR wrote:

 4   “Hey George. Tomorrow is October first. When we gonna meet?”

 5        Overt Act No. 99:       On October 4, 2018, defendant HUIZAR wrote

 6   to Esparza: “Hey George. So we gonna meet up like u said we would
 7   after October?”
 8        Overt Act No. 100:       On October 5, 2018, defendant HUIZAR and
 9   Kim met at a hotel in Pasadena, where defendant HUIZAR asked Kim to
10   turn off his phone to ensure their meeting was not recorded.
11   Defendant HUIZAR stated that he had not gotten his share and held up
12   two fingers, referring to the $200,000, which was defendant HUIZAR’s
13   share of the bribe payment from Developer C in exchange for defendant
14   HUIZAR’s help with the appeal, because Esparza was still holding on
15   to the cash.
16        Overt Act No. 101:      On October 14, 2018, defendant HUIZAR sent a
17   text message to Esparza, writing: “George. I’ve been trying to
18   connect with you. We have a meeting that was supposed to occur on
19   October 1.”
20        Overt Act No. 102:      On October 20, 2018, defendant HUIZAR wrote
21   to Esparza via text message: “George. I’ve been trying to reach u.
22   When are we going to meet and square up?”
23        Overt Act No. 103:      On October 22, 2018, defendant HUIZAR wrote
24   to Esparza via text message: “Sounds like u don’t ever want to meet
25   and face up to your commitment to meet on October 1 and u are using
26   other pretexts as to why u don’t want to meet. You are using excuses
27   as for the real reason u don’t want to meet and u know it. U told me
28   October. Now What? Each time comes up and u don’t want to meet at

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 1   all? U want it all and that’s the real reason why you don’t want to

 2   meet and are using all kind of excuses. One more time, when are we

 3   going to meet?”

 4                            (3)   Project D Bribery Scheme
 5        Early Corrupt Relationship with Company D
 6        Overt Act No. 104:        On March 24, 2014, Individual 1 facilitated
 7   the introduction of defendant HUIZAR to Company D and Chairman D via
 8   an e-mail to Esparza.
 9        Overt Act No. 105:        On August 21, 2014, Employee D sent an e-
10   mail to defendant HUIZAR and General Manager D requesting defendant
11   HUIZAR’s assistance regarding an American Disabilities Act (“ADA”)
12   compliance issue at one of Company D’s hotels in the City.
13        Overt Act No. 106:        On August 26, 2014, Employee D sent an e-
14   mail to defendant HUIZAR, a CD-14 staffer, and General Manager D that
15   stated: “I just got a call from Building and Safety Department of LA
16   City, and a meeting with them is confirmed tomorrow morning to
17   discuss about our ADA challenge. Thanks so much again for JOSE
18   [HUIZAR] and you for helping us with this.”
19        Overt Act No. 107:        On August 27, 2014, Individual 1 confirmed
20   to defendant HUIZAR that he helped resolve the ADA issue for Company
21   D, writing in a text message: “I took care of the disabled access
22   issue for the [Company D] Hotel already. I told them that you asked
23   me to help. They were very appreciative.”
24        Overt Act No. 108:        On September 19, 2014, Employee D sent three
25   Katy Perry concert tickets valued at approximately $1,000 total for
26   defendant HUIZAR and his family, by e-mail to Esparza, which Esparza
27   then forwarded to defendant HUIZAR.
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 1        Overt Act No. 109:      On November 4, 2014, Individual 1 sent a

 2   text message to defendant HUIZAR, writing: “I will be having dinner

 3   with chairman [D] tonight. I also knew that you will have dinner with

 4   him Thursday. I just want to touch base with you as to what George

 5   Chiang and I should tell him.”

 6        Overt Act No. 110:      On November 4, 2014, Chiang sent an e-mail

 7   to Esparza with the subject line “HUIZAR Fundraising,” writing: “Can
 8   you get me in touch with [HUIZAR]? [Individual 1] and I had dinner
 9   with [Company D] last night regarding pledging their support so I
10   want to discuss this to prepare the Councilman’s dinner with them
11   this Thursday.”
12        Overt Act No. 111:      On November 26, 2014, defendant HUIZAR,
13   Esparza, Chiang, Chairman D, and Relative A-1 met over dinner at
14   Property D, where defendant HUIZAR and Chairman D discussed Company
15   D’s support for defendant HUIZAR and defendant HUIZAR’s support for
16   Project D.
17        Overt Act No. 112:      On September 7, 2015, Individual 1, in his
18   capacity as the then General Manager of LADBS, communicated with
19   defendant HUIZAR and Chiang via group text message regarding
20   organizing meetings with various City departments to help Project D,
21   writing “please stress that this will be a standing biweekly meeting
22   until the TFAR matter is determined. Please let me know if there is
23   anything that I can be is assistance.”
24        Overt Act No. 113:      On September 8, 2015, Chiang sent a group
25   text message to defendant HUIZAR and Individual 1, writing: “Dear
26   JOSE [HUIZAR] and [Individual 1], thank you for making this
27   arrangement possible.      As the clock ticks, the chairman [D] is
28   beginning to feel weary about our progress. I just need to make sure

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 1   that he sees the light at the end of the tunnel. Once again, thank

 2   you both for all of your support hopefully I can bring some good news

 3   within the near future. Like always, please let me know if I can be

 4   helpful.”

 5        Overt Act No. 114:      In or around 2015 or 2016, defendant HUIZAR,

 6   through Esparza, asked Chiang to have Company D set up a monthly
 7   retainer with Law Firm A, from which Relative A-1 received bi-weekly
 8   paychecks of approximately $2,500.
 9        Overt Act No. 115:      In approximately 2016, at a meeting that
10   included defendant HUIZAR, Chiang, and Chairman D, defendant HUIZAR
11   asked Chiang to relay to Chairman D that: (1) there was no need to
12   involve the City’s Mayor in the approval process of Project D because
13   defendant HUIZAR was the one in control of the PLUM committee; (2)
14   the City’s Mayor could not provide help to Chairman D because it was
15   defendant HUIZAR who drove the project; and (3) as far as the success
16   of Project D was concerned, Chairman D did not need anyone else in
17   the City but defendant HUIZAR.
18        Overt Act No. 116:      On or around September 28, 2016, at
19   defendant HUIZAR’s request, Company D made a contribution of $25,000
20   to a homelessness initiative.
21        Consulting Fees in Exchange for Official Acts
22        Overt Act No. 117:      On November 11, 2015, defendant HUIZAR,
23   Chiang, Esparza, Chairman D, and General Manager D met over dinner at
24   a restaurant in Arcadia, California.        Defendant HUIZAR and Chairman D
25   discussed defendant HUIZAR’s support for Project D.          In the same
26   conversation, defendant HUIZAR asked Chairman D to hire one of
27   defendant HUIZAR’s associates, who later turned out to be HUIZAR
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 1   Associate 1, on Project D.      Chairman D told defendant HUIZAR to

 2   discuss the details with General Manager D.

 3           Overt Act No. 118:   On November 16, 2015, Chiang sent an e-mail

 4   to Esparza, copying General Manager D, confirming the new agreement
 5   between defendant HUIZAR and Chairman D.         Chiang stated: “Now with a
 6   common consensus in place for [Project D], we would like to roll this
 7   project full speed ahead. Therefore, I would like to request the
 8   biweekly standing meeting to restart.... From this point on, we would
 9   like to communicate all aspects of our project with your [CD-14]
10   office FIRST prior to any other offices in the city family....
11   [P]lease be ready to coordinate with Mayor’s office, Planning
12   Department, and all other related parties so we can drive on a
13   singular track.”
14           Overt Act No. 119:   On December 2, 2015, defendant HUIZAR sent a
15   text message to Chiang regarding the status of Chairman D’s agreement
16   to hire HUIZAR Associate 1, writing: “Any response from chairman
17   [D]?”
18           Overt Act No. 120:   On December 8, 2015, defendant HUIZAR and
19   Chiang had a conversation via text message regarding the response
20   from Chairman D.     Chiang wrote: “Hi Councilman [HUIZAR], let me know
21   when you have time to chat really quick.”        Defendant HUIZAR
22   responded: “On phone or in person?”         Chiang responded: “Better in
23   person just need ... no more than 15 min.”
24           Overt Act No. 121:   On December 8, 2015, defendant HUIZAR and
25   Chiang met in person at a coffee shop in Los Angeles to discuss a
26   consulting agreement to pay HUIZAR Associate 1.          Chiang told
27   defendant HUIZAR that General Manager D would work with defendant
28   HUIZAR on retaining HUIZAR Associate 1.         Defendant HUIZAR informed

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 1   Chiang that Relative A-1 would be involved with getting the retainer

 2   consummated.

 3        Overt Act No. 122:      Between December 8, 2015 and December 16,

 4   2015, at a meeting at the site of Project D, General Manager D asked
 5   Chiang if Chiang’s consulting firm would hire HUIZAR Associate 1 if,
 6   in return, Company D would increase the retainer with the firm to
 7   cover that cost, which Chiang declined.
 8        Overt Act No. 123:      On December 13, 2015, at General Manager D’s
 9   direction, Chairman D’s relative traveled from Vancouver, Canada to
10   Los Angeles, California to discuss the arrangement whereby Chairman
11   D’s relative would pay HUIZAR Associate 1 for purported real estate
12   advice from Relative A-1.
13        Overt Act No. 124:      On or about December 16, 2015, defendant
14   HUIZAR caused Relative A-1 to meet with Chairman D’s relative to
15   discuss an arrangement whereby Chairman D’s relative’s company would
16   pay a company affiliated with HUIZAR Associate 1, purportedly for
17   real estate advice.
18        Overt Act No. 125:      On April 11, 2016, defendant HUIZAR sent a
19   text message to Chiang, writing: “How is [Relative A-1] agreement
20   going? Has everything been set up with [HUIZAR Associate 1]?”
21        Overt Act No. 126:      On April 19, 2016, defendant HUIZAR sent a
22   text message to Chiang, stating that defendant HUIZAR “would like to
23   briefly speak with [General Manager D]” about an “[u]pdate on some of
24   my meetings with [Relative A-1].”       Chiang responded: “Let me call
25   [General Manager D] right now and get back to you.”
26        Overt Act No. 127:       On April 20, 2016, defendant HUIZAR and
27   General Manager D met at a restaurant in Los Angeles to discuss the
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 1   arrangement whereby Chairman D’s relative would provide a retainer

 2   payment to HUIZAR Associate 1.

 3        Overt Act No. 128:      On April 26, 2016, defendant HUIZAR sent a

 4   text message to Chiang and asked: “Everything good?”           Chiang
 5   responded: “Yes sir!”      Defendant HUIZAR subsequently answered: “Cool.
 6   The more I think about our project, the more I get excited about it.
 7   Let’s meet every two weeks or so to see how things are going.... I
 8   think it’ll be great!”
 9        Overt Act No. 129:      In May 2016, Company A and Chairman D’s
10   relative’s company executed an agreement whereby Company A would
11   purportedly “provide marketing analysis for Real Estate and Land
12   Development Opportunities in the Greater Southern California Area in
13   the total amount of $11,000.00 per month for services rendered.”               In
14   reality, Chiang prepared the monthly marketing analysis reports and
15   delivered them to defendant HUIZAR, who then provided them to HUIZAR
16   Associate 1, who collected the $11,000 monthly retainer.           Defendant
17   HUIZAR, Chiang, Chairman D, and General Manager D understood that the
18   monthly retainer payments were intended to be and were indirect bribe
19   payments to defendant HUIZAR in exchange for defendant HUIZAR’s
20   official acts to benefit Project D.
21        Overt Act No. 130:      On May 31, 2016, defendant HUIZAR and Chiang
22   had a conversation via text message regarding defendant HUIZAR
23   obtaining the monthly reports purportedly prepared by Company A (but
24   in fact prepared by Chiang) pursuant to the consulting agreement with
25   Chairman D’s relative regarding real estate and land development
26   opportunities.
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 1              Real Estate Report #1
 2        Overt Act No. 131:      On May 31, 2016, Chiang delivered to

 3   defendant HUIZAR his first real estate report that they intended

 4   would be passed off as being created by Company A pursuant to its

 5   $11,000 per month consulting agreement with Chairman D’s relative.

 6        Overt Act No. 132:      Between May 31, 2016 and June 8, 2016,

 7   defendant HUIZAR met with HUIZAR Associate 1 and delivered the first
 8   real estate report he received from Chiang.
 9        Overt Act No. 133:      On June 8, 2016, HUIZAR Associate 1 caused
10   his employee to send an e-mail to Chairman D’s relative transmitting
11   the first report and invoice for May 2016.
12        Overt Act No. 134:      On June 15, 2016, pursuant to the consulting
13   agreement, Chairman D’s relative sent a wire payment of $11,000 to
14   Company A, to a Union Bank account.
15        Overt Act No. 135:      On June 27, 2016, Company A issued $11,000
16   in three checks from the Union Bank account, in the following
17   amounts: (1) $5,000 to a company controlled by HUIZAR Associate 1;
18   (2) $5,000 to HUIZAR Associate 1; and (3) $1,000 to HUIZAR Associate
19   1’s relative.
20              Real Estate Report #2
21        Overt Act No. 136:      On July 1, 2016, Chiang met with defendant
22   HUIZAR at a coffee shop in Los Angeles, where Chiang delivered his
23   second real estate report.
24        Overt Act No. 137:      On July 14, 2016, defendant HUIZAR met with
25   HUIZAR Associate 1 and delivered the second real estate report he
26   received from Chiang.
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 1        Overt Act No. 138:      On July 14, 2016, HUIZAR Associate 1 caused

 2   his employee to send an e-mail to Chairman D’s relative transmitting

 3   the second report and invoice for June 2016.

 4        Overt Act No. 139:      On July 19, 2016, pursuant to the consulting

 5   agreement, Chairman D’s relative sent a wire payment of $11,000 to
 6   Company A, to the Union Bank account.
 7        Overt Act No. 140:      On July 26, 2016, Company A issued $10,000
 8   in two checks of $5,000 each from the Union Bank account, to HUIZAR
 9   Associate 1.
10              Real Estate Report #3
11        Overt Act No. 141:      On August 1, 2016, Chiang met with defendant
12   HUIZAR at a restaurant in Los Angeles, where Chiang delivered his
13   third real estate report.
14        Overt Act No. 142:      On August 10, 2016, defendant HUIZAR met
15   with HUIZAR Associate 1 at a restaurant and delivered the third real
16   estate report he received from Chiang.
17        Overt Act No. 143:      On August 11, 2016, HUIZAR Associate 1
18   caused his employee to send an e-mail to Chairman D’s relative
19   transmitting the third report and invoice for July 2016.
20        Overt Act No. 144:      On August 17, 2016, pursuant to the
21   consulting agreement, Chairman D’s relative sent a wire payment of
22   $11,000 to Company A, to the Union Bank account.
23              Real Estate Report #4
24        Overt Act No. 145:      On September 2, 2016, Chiang met with
25   defendant HUIZAR at a coffee shop in Los Angeles, where Chiang
26   delivered his fourth real estate report.
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 1        Overt Act No. 146:      On September 8, 2016, defendant HUIZAR met

 2   with HUIZAR Associate 1 and delivered the fourth real estate report

 3   he received from Chiang.

 4        Overt Act No. 147:      On September 8, 2016, HUIZAR Associate 1

 5   caused his employee to send an e-mail to Chairman D’s relative
 6   transmitting the fourth report and invoice for August 2016.
 7        Overt Act No. 148:      On September 9, 2016, pursuant to the
 8   consulting agreement, Chairman D’s relative sent a wire payment of
 9   $11,000 to Company A, to the Union Bank account.
10        Overt Act No. 149:      On September 16, 2016, Company A issued
11   $11,000 in three checks from the account ending in 6345, in the
12   following amounts: (1) $5,000 to a company controlled by HUIZAR
13   Associate 1; (2) $5,000 to HUIZAR Associate 1; and (3) $1,000 to
14   HUIZAR Associate 1’s relative.
15              Real Estate Report #5
16        Overt Act No. 150:      On October 4, 2016, Chiang met with
17   defendant HUIZAR at defendant HUIZAR’s residence, where Chiang
18   delivered his fifth real estate report.
19        Overt Act No. 151:      On October 14, 2016, defendant HUIZAR met
20   with HUIZAR Associate 1 over breakfast and delivered the fifth real
21   estate report he received from Chiang.
22        Overt Act No. 152:      On October 14, 2016, HUIZAR Associate 1
23   caused his employee to send an e-mail to Chairman D’s relative
24   transmitting the fifth report and invoice for September 2016.
25        Overt Act No. 153:      On November 14, 2016, pursuant to the
26   consulting agreement, Chairman D’s relative sent a wire payment of
27   $11,000 to Company A, to the Union Bank account.
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 1        Overt Act No. 154:      On November 17, 2016, Company A issued

 2   $10,300 in two checks from the Union Bank account, in the following

 3   amounts: (1) $4,500 to a company controlled by HUIZAR Associate 1;

 4   and (2) $5,800 to HUIZAR Associate 1.

 5              Real Estate Report #6
 6        Overt Act No. 155:      On November 3, 2016, Chiang met with

 7   defendant HUIZAR at a coffee shop in Los Angeles, where Chiang
 8   delivered his sixth and final real estate report.
 9        Overt Act No. 156:      On November 3, 2016, defendant HUIZAR met
10   with HUIZAR Associate 1 and delivered the sixth real estate report he
11   received from Chiang.
12        Overt Act No. 157:      On November 23, 2016, HUIZAR Associate 1
13   caused his employee to send an e-mail to Chairman D’s relative
14   transmitting the sixth report and invoice for October 2016.
15        Overt Act No. 158:      On November 30, 2016, pursuant to the
16   consulting agreement, Chairman D’s relative sent a wire payment of
17   $11,000 to Company A, to the Union Bank account.
18        Overt Act No. 159:      On December 8, 2016, Company A issued a
19   $10,000 check from the Union Bank account to HUIZAR Associate 1.
20              Official Acts by Defendant HUIZAR
21        Overt Act No. 160:      On November 22, 2016, defendant HUIZAR
22   presented a written motion in the Economic Development committee to
23   benefit Project D.
24        Overt Act No. 161:      On December 13, 2016, defendant HUIZAR voted
25   “yes” in the City Council to adopt the Project D motion defendant
26   HUIZAR had presented.      Later that day, defendant HUIZAR, Chiang, and
27   General Manager D met at the site of Project D to discuss Project D
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 1   and defendant HUIZAR’s agreement to expedite the project going

 2   forward.

 3        Additional Benefits from Company D and Defendant HUIZAR’s
 4        Official Acts
 5        Overt Act No. 162:      On February 9, 2017, defendant HUIZAR

 6   requested via text message Chiang’s assistance in coordinating a trip
 7   to China for defendant HUIZAR and his family, including requesting
 8   his help in obtaining visas for his family.
 9        Overt Act No. 163:      In or around April 2017, at defendant
10   HUIZAR’s request, Chiang organized and coordinated a trip for
11   defendant HUIZAR and his family members to visit Chairman D in China,
12   including paying approximately $500 for visa fees and arranging for
13   transportation for defendant HUIZAR and his family in Hong Kong.
14        Overt Act No. 164:      Between April 15, 2017 and April 23, 2017,
15   when defendant HUIZAR and his family visited Chairman D in Hong Kong
16   and China, Chairman D paid for certain transportation, meals, and
17   lodging for defendant HUIZAR and his family members.
18        Overt Act No. 165:      On April 27, 2017, at defendant HUIZAR’s
19   request, Chiang provided concert tickets to defendant HUIZAR worth
20   approximately $1,572 total.
21        Overt Act No. 166:      On May 2, 2017, in a telephone call, Chiang
22   and Esparza discussed the mutually beneficial financial relationship
23   between Chinese developers and defendant HUIZAR and Individual 1.
24   Specifically, Esparza told Chiang: “Looking from your perspective,
25   you bank on [Individual 1], and [defendant HUIZAR]’s office to do,
26   one of the main points with [defendant HUIZAR], for your Chinese
27   clients for example, ‘entitlements, PLUM,’ you got to use that and we
28   gotta keep making his motherfucking, him happy.”

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 1        Overt Act No. 167:      On May 10, 2017, in a telephone call,

 2   Esparza told Chiang: “So today we had a productive day where

 3   [defendant HUIZAR] told [City Staffer A-2], let’s streamline the

 4   [Company D] project.”

 5        Overt Act No. 168:      On May 13, 2017, via a text message

 6   conversation, defendant HUIZAR expressed his willingness to benefit
 7   Chairman D in connection with Project D.        Defendant HUIZAR wrote to
 8   Chiang: “But the 2 tower is better for chairman [D] and his choice?
 9   [Because] if he wanted the 3 towers and that is the best choice, we
10   can make that happen.”
11        Overt Act No. 169:      On May 19, 2017, at defendant HUIZAR’s
12   request, Chiang paid approximately $1,000 for alcohol for a party for
13   Relative A-2.
14        Overt Act No. 170:      On May 20, 2017, during a telephone call
15   with an associate, Esparza confirmed defendant HUIZAR’s intention to
16   keep the China trip discreet, stating: “China was supposed to, China
17   was a real, you know, he didn’t pay for that shit, that was a real
18   you know fucking low key thing.”
19        Overt Act No. 171:      On June 19, 2017, at defendant HUIZAR’s
20   request, Chiang provided concert tickets to defendant HUIZAR worth
21   $1,670.
22        Overt Act No. 172:      On June 22, 2017, during a telephone call,
23   Chiang and Individual 1 discussed defendant HUIZAR’s request for
24   benefits from Chiang.      Specifically, Chiang explained that defendant
25   HUIZAR asked him to coordinate a trip to Cuba for defendant HUIZAR
26   and a woman with whom he was having a secret romantic relationship.
27   Individual 1 then asked: “So he just wanted you to do what, to ...
28   pay for all the trips, is that what he wants?”          Chiang then stated

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 1   that defendant HUIZAR would have to get special visas, and explained

 2   that this would risk potentially exposing their corrupt

 3   relationships: “I told [HUIZAR], I said look, we’re all gonna be on

 4   record and if something happens, everything, everyone’s dead.”

 5        Overt Act No. 173:      On June 23, 2017, in a telephone call,

 6   Chiang and Kim discussed using defendant HUIZAR’s influence as a
 7   councilmember going forward and defendant HUIZAR’s requests for
 8   financial benefits.      Specifically, Kim stated: “this is my agenda,
 9   not only do I want to make money, George [Chiang], I want to show you
10   and other Chinese developer, assuming [defendant HUIZAR] is there,
11   how much motivation he’s going to have to push everything around for
12   my project, those are my agenda.”       In response, Chiang asked if
13   defendant HUIZAR understood “what he needs to do in three and a half
14   years.”   Kim replied: “Yes, yes. Everything is set. You’re gonna see
15   some differences, alright George?”          Chiang then asked to meet with
16   Kim, stating that defendant HUIZAR was asking for “some very stupid
17   requests.”   Kim responded: “I’m not going to make a comment,” to
18   which Chiang stated: “Yeah, let’s not talk about this on the phone.”
19        Overt Act No. 174:      On August 24, 2017, Chiang asked for
20   defendant HUIZAR’s help on Project D.         Specifically, Chiang sent a
21   text message to defendant HUIZAR, writing: “Hi Boss, wanted to give
22   you heads up: [A Company D employee] spoke to chairman [D] and CPC
23   [City Planning Commission] needs to be 9/14/17 otherwise the loan
24   commitment from lender will be lost for the project.”           The next day,
25   Chiang again sent a message to defendant HUIZAR, writing: “Hi Boss,
26   we met with planning yesterday and went through the outstanding items
27   for 9/14/17 CPC. We would need a motion from your office to direct
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 1   the TFAR allocation by next week before council recess to make the

 2   9/14/17 CPC hearing.”

 3        Overt Act No. 175:      On August 24, 2017, in a telephone call,

 4   Chiang told Individual 1: “Do or die, because if we lose the
 5   September 14 [CPC hearing date], then we lose all loan commitments
 6   from the lender ... you know, probably not looking at a project.”
 7   Individual 1 responded: “You mentioned to [defendant HUIZAR] this is
 8   a big issue.”    Chiang responded: “Yes, yes, I did, I told him ... the
 9   motion is very important in order for us to move forward.... We all
10   spoke to the Chairman [D], and the Chairman [D] is willing to make a
11   lot of sacrifices.”
12        Overt Act No. 176:      On September 1, 2017, at Chiang’s request,
13   defendant HUIZAR presented a written motion in the PLUM committee to
14   benefit Company D, allowing Project D to move forward with its
15   application and approval process before the CPC and City Council.
16        Overt Act No. 177:      On September 1, 2017, defendant HUIZAR wrote
17   to Chiang in a text message: “We got the motion in today,” which
18   Chiang understood to mean that defendant HUIZAR held up his end of
19   the bargain to help Company D.
20        Overt Act No. 178:      On September 14, 2017, defendant HUIZAR
21   confirmed that he and his office exerted pressure on other City
22   officials, writing to Chiang in a text message: “Congrats. Yeah we
23   [CD-14 office] were calling mayors office to tell his commission to
24   calm down. It’s expected from cpc they throw a lot of junk at
25   projects these days.      Not over but make sure u relay to chairman [D]
26   that we were helpful.”
27        Overt Act No. 179:      On September 14, 2017, in a telephone call,
28   defendant HUIZAR told Chiang: “You know, whatever it was, we’ll fix

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 1   it in PLUM.... Did the boss [Chairman D], you call the boss [Chairman

 2   D] already? ... Did you tell him that my office was helpful?”            Chiang

 3   responded: “I told [Chairman D] everything.”          Defendant HUIZAR then

 4   stated: “Okay, cool, cool, cool. Good, good.... Do we have a schedule

 5   for PLUM already?”

 6        Overt Act No. 180:      In or around November 2017, defendant HUIZAR

 7   asked Chiang to make a commitment on behalf of Company D to
 8   contribute $100,000 to Relative A-1’s campaign in exchange for
 9   continued favorable official acts by defendant HUIZAR to benefit
10   Project D.   Chiang, on behalf of Company D, told defendant HUIZAR he
11   could confirm Chairman D’s commitment of $100,000 to PAC A.
12        Overt Act No. 181:      On November 16, 2017, at defendant HUIZAR’s
13   direction, Esparza created a spreadsheet titled “IE [Independent
14   Expenditure] HUIZAR Strategy,” which included a $100,000 contribution
15   from Company D with Chiang listed in the “Notes” column.
16        Overt Act No. 182:      On December 4, 2017, defendant HUIZAR
17   created a spreadsheet titled “Initial Commitments to PAC,” which
18   included a $100,000 contribution from Chiang.
19        Overt Act No. 183:      On December 5, 2017, defendant HUIZAR voted
20   to approve Project D in the PLUM Committee.
21        Overt Act No. 184:      On January 9, 2018, at defendant HUIZAR’s
22   direction, Esparza sent an e-mail to defendant HUIZAR, attaching a
23   spreadsheet titled “IE [Independent Expenditure] HUIZAR Strategy,”
24   which included a $100,000 contribution from Company D with Chiang
25   listed in the “Notes” column, and a spreadsheet titled “Copy of
26   Commitments,” which included a $100,000 contribution from Company D.
27        Overt Act No. 185:       On January 16, 2018, defendant HUIZAR sent
28   an e-mail to his fundraiser, attaching a spreadsheet titled “Initial

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 1   Commitments to PAC,” which included a $100,000 contribution from

 2   Chiang with Chiang listed in the “Notes” column.

 3        Overt Act No. 186:      On January 24, 2018, defendant HUIZAR,

 4   Chiang, Chairman D, Individual 1, and Relative A-1 met for dinner at
 5   Chairman D’s hotel in San Gabriel, California, where Chairman D
 6   pledged his commitment and support for Relative A-1’s campaign for
 7   the CD-14 seat.
 8        Overt Act No. 187:      On February 12, 2018, defendant HUIZAR wrote
 9   to Chiang in a text message: “fundraiser for PAC will call u today,”
10   in furtherance of the agreement to have Company D contribute to PAC A
11   to benefit Relative A-1’s campaign.
12        Overt Act No. 188:      On March 9, 2018, defendant HUIZAR submitted
13   a resolution in the PLUM Committee to benefit Company D, allowing
14   Project D to move forward in its approval process.
15        Overt Act No. 189:      On March 29, 2018, defendant HUIZAR and
16   Chiang met at defendant HUIZAR’s residence to discuss Company D’s
17   support and the $100,000 contribution to the PAC to benefit Relative
18   A-1’s campaign.
19        Overt Act No. 190:      On April 23, 2018, Chiang wrote to
20   Individual 1 via text message that the list of items he was talking
21   to defendant HUIZAR about included “tell [defendant HUIZAR] that
22   [Chairman D] is coming in June, we can talk about the PAC at that
23   time.”
24        Overt Act No. 191:      On April 23, 2018, defendant HUIZAR and
25   Chiang met at defendant HUIZAR’s residence to discuss defendant
26   HUIZAR’s continued support for Project D in exchange for Company D’s
27   agreement to contribute $100,000 to PAC A to benefit Relative A-1’s
28   campaign.

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 1        Overt Act No. 192:      On May 18, 2018, defendant HUIZAR met with

 2   Chiang and Individual 1 for breakfast at a restaurant in Boyle

 3   Heights, where defendant HUIZAR stated that he needed the PAC

 4   contribution as soon as possible and that he wanted the contribution

 5   now so that when Relative A-1 announced her candidacy, she would have

 6   money to pour into the campaign and scare other potential candidates

 7   from running against her.      Defendant HUIZAR stated that other

 8   developers already contributed in amounts of $50,000, $100,000, and

 9   $200,000.

10        Overt Act No. 193:      On June 12, 2018, defendant HUIZAR voted in

11   the City Council to approve the Development Agreement for Project D,
12   and wrote to Chiang in a text message: “Da [Development Agreement]
13   for [Company D] just passed council today. Does that mean project has
14   been fully entitled? Is that our last vote?”
15        Overt Act No. 194:      On June 18, 2018, defendant HUIZAR wrote to
16   Chiang in a text message: “When is the chairman [D] coming in to
17   town? We need to finalize pac stuff. Thanks.”
18        Overt Act No. 195:      On July 30, 2018, after the ordinance
19   authorizing the execution of the Development Agreement for Project D
20   went into effect, defendant HUIZAR wrote to Chiang in a text message:
21   “any news on when [Chairman D] is coming in to town? Hoping to catch
22   dinner with him and talk about [Relative A-1] campaign.”           Chiang
23   responded: “Hi Boss, [Individual 1] is working on it. I let you know
24   after I see him in office tomorrow.”
25        Overt Act No. 196:      On October 8, 2018, defendant HUIZAR
26   followed up regarding Company D’s commitment to PAC A, writing to
27   Chiang in a text message: “Hey George [Chiang]... have time to meet
28   soon to tie up some loose ends re the [Company D] project?”

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 1        Overt Act No. 197:        On October 16, 2018, defendant HUIZAR and

 2   Chiang met at defendant HUIZAR’s residence and discussed Company D’s

 3   agreement to contribute to PAC A to benefit Relative A-1’s campaign,

 4   as promised, in exchange for defendant HUIZAR taking multiple

 5   official acts to benefit Project D.

 6                            (4)   Project M Bribery Scheme
 7        $25,000 Contribution to PAC B
 8        Overt Act No. 198:        On August 18, 2016, defendant HUIZAR met
 9   with Lobbyist B and Executive M at defendant HUIZAR’s City Hall
10   office to discuss Project M.       At the meeting, Lobbyist B and
11   Executive M asked defendant HUIZAR to file a motion to initiate a
12   General Plan Amendment for Project M.        Defendant HUIZAR agreed to
13   initiate the General Plan Amendment, either by exerting pressure on
14   the Planning Department to do so or by filing a motion.
15        Overt Act No. 199:        On or about August 26, 2016, defendant
16   HUIZAR and his staff urged the Planning Department to approve the
17   General Plan Amendment initiation for Project M, which the Planning
18   Department did.
19        Overt Act No. 200:        In September 2016, less than a month after
20   defendant HUIZAR had provided significant assistance to Company M and
21   Executive M, defendant HUIZAR asked Lobbyist B for contributions to
22   PAC B from Lobbyist B’s clients with projects pending in CD-14,
23   including from Executive M on behalf of Company M.          Lobbyist B agreed
24   to convey the requests to his clients.
25        Overt Act No. 201:        On October 10, 2016, defendant HUIZAR sent
26   an e-mail to Esparza and another CD-14 staffer, writing: “I spoke
27   with [Lobbyist B] already about [another developer] and [Company M]
28   contributions to [HUIZAR Associate 2] Account.          He is on board.        Work

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 1   with him to get them in.      Get [Lobbyist B] the [HUIZAR Associate 2]

 2   acco[u]nt name and number etc.”

 3        Overt Act No. 202:      On October 13, 2016, Esparza sent a text

 4   message to Lobbyist B, providing the information for PAC B and
 5   adding: “according to my boss that’s for [another developer] and
 6   [Company M]. He said he spoke to u about it.”
 7        Overt Act No. 203:      On October 13, 2016, Lobbyist B sent an e-
 8   mail to Executive M, passing on the information for PAC B he received
 9   from Esparza.    Executive M replied: “Timing and amount?”         Lobbyist B
10   then wrote: “25K as soon as possible.”
11        Overt Act No. 204:      On October 14, 2016, Lobbyist B sent an e-
12   mail to Executive M, attaching a remit form for PAC B, and writing:
13   “HUIZAR is asking that contributions be directed to this committee.
14   Please hold off if you are processing a contribution to the other
15   primary committee.”
16        Overt Act No. 205:      On October 26, 2016, Executive M wrote to
17   Lobbyist B in a text message about the $25,000 PAC B contributions:
18   “I should have checks by tomorrow. All I need is the letter. Would it
19   be worth setting up a quick drink or coffee with JOSE [HUIZAR] when
20   we deliver? Could be good to talk big picture, etc.”
21        Overt Act No. 206:      On or about October 27, 2016, at defendant
22   HUIZAR’s direction, Company M sent three checks from three separate
23   entities, payable to PAC B in the amount of $8,333.33 for a total of
24   $25,000, by U.S. Mail to the Company M office in Los Angeles,
25   California.
26        Overt Act No. 207:      On October 31, 2016, Lobbyist B sent a text
27   message to Esparza, writing: “When can I get [Executive M] in with
28   JOSE [HUIZAR] to deliver the checks?”

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 1           Additional $25,000 Contribution to PAC B
 2           Overt Act No. 208:   On February 15, 2017, defendant HUIZAR met

 3   Lobbyist B for lunch in downtown Los Angeles to discuss various

 4   projects.    At the lunch, defendant HUIZAR asked Lobbyist B for an

 5   additional $25,000 contribution to PAC B from Company M, which

 6   Lobbyist B agreed to convey to Executive M.

 7           Overt Act No. 209:   On February 15, 2017, Executive M paid

 8   approximately $1,778.33 for a dinner for defendant HUIZAR and CD-14
 9   staff at a restaurant in Los Angeles, which was reimbursed by Company
10   M.
11           Overt Act No. 210:   On February 21, 2017, Lobbyist B informed
12   Esparza via text message that Executive M “acknowledged the
13   conversation with JOSE [HUIZAR]” regarding Company M’s additional
14   contribution to PAC B.
15           Overt Act No. 211:   On February 24, 2017, Executive M sent an e-
16   mail to another Company M employee with the subject line “questions
17   regarding HUIZAR PAC,” copying Lobbyist B, and writing: “You can
18   direct any specific questions on the PAC to [Lobbyist B], who is
19   cc’d.”
20           Overt Act No. 212:   On February 25, 2017, defendant HUIZAR sent
21   a text message to Esparza, writing: “Any update on [Executive M]
22   25k?”
23           Overt Act No. 213:   On or about March 2, 2017, at defendant
24   HUIZAR’s direction, Company M sent a check for $25,000 made payable
25   to PAC B by U.S. Mail to PAC B in Sacramento, California.
26           Overt Act No. 214:   On March 20, 2017, Executive M sent an e-
27   mail to Lobbyist B, writing: “Do you think we are in a more favored
28   status with JOSE [HUIZAR] compared to [another developer]?”

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 1        Overt Act No. 215:       On May 5, 2017, in a telephone call,

 2   defendant HUIZAR and Lobbyist B discussed Company M’s contribution to

 3   PAC B at defendant HUIZAR’s direction.         Defendant HUIZAR and Lobbyist

 4   B found out that PAC B publicly disclosed Company M as a top donor

 5   for a Los Angeles City Council candidate.         Lobbyist B told defendant

 6   HUIZAR that a reporter was “asking who asked us for the donation, but

 7   we, we're not gonna respond to that.”         Defendant HUIZAR responded:

 8   “Thank you very much. I appreciate that.”         Lobbyist B stated: “No of

 9   course.”   Lobbyist B then stated: “When I told George [Esparza], I

10   said, look, my two things that I gotta protect you know ... [Company

11   M] and gotta protect you.”       Defendant HUIZAR stated “we can’t be

12   sloppy about this and trust, uh, [HUIZAR Associate 2], but, anyway,

13   we will save that conversation for tomorrow, ok?”

14        Overt Act No. 216:       On May 9, 2017, Executive M sent an e-mail

15   to Lobbyist B asking about the media inquiry regarding the Company M
16   campaign contribution to PAC B in support of a Los Angeles City
17   Council candidate.       Lobbyist B responded by e-mail, reminding
18   Executive M that the PAC B contribution “was an ‘ask’ from JOSE
19   HUIZAR.”
20        Overt Act No. 217:       On August 24, 2017, Executive M sent an e-
21   mail to another Company M employee who was seeking input on a
22   fundraising event for defendant HUIZAR, writing: “I would recommend
23   not making this contribution as we go through certain channels to
24   make sure it has impact.”
25        $25,000 Contribution and Additional $25,000 Commitment to PAC A
26        Overt Act No. 218:       In or around January 2018, defendant HUIZAR
27   spoke with Lobbyist B regarding Project M’s approval in the PLUM
28   Committee and City Council.       Specifically, they discussed that

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 1   Company M wanted the City to approve Project M with a 5% affordable

 2   housing requirement, while defendant HUIZAR initially insisted on 11%

 3   affordable housing.      Lobbyist B told defendant HUIZAR that Executive

 4   M was concerned he would suffer significant professional

 5   consequences, including the loss of his job with Company M, if

 6   Project M was not approved, and that if Project M did not obtain its

 7   preferred affordable housing requirements it would threaten the

 8   viability of the project altogether.

 9        Overt Act No. 219:      On January 5, 2018, Lobbyist B sent a text

10   message to Executive M, writing: “We are confirmed for dinner with
11   HUIZAR on Monday [January 8, 2018].”
12        Overt Act No. 220:      On January 8, 2018, defendant HUIZAR and
13   Lobbyist B had a discussion via text message regarding Project M and
14   Company M’s willingness to contribute to their newly established PAC,
15   PAC A.   Specifically, defendant HUIZAR wrote: “Let’s do the pac stuff
16   later this week. See u there at 6. What’s purpose of tonight’s
17   meeting? Are they [Company M] gonna help with pac?”          Lobbyist B
18   replied: “[Executive M] wants to talk about their [Project M] and see
19   if you’re comfortable with the height and affordability levels.”
20   Defendant HUIZAR answered: “Are they gonna help with pac?”            Lobbyist
21   B UHSOLHG³,‫ޑ‬PVXUHWKH\ZLOOKRZHYHU- as your friend - let’s
22   discuss this in a different text thread” in order to avoid
23   documenting defendant HUIZAR’s conditioning his official assistance
24   with Project M on Company M’s financial support for PAC A.
25        Overt Act No. 221:      On February 23, 2018, defendant HUIZAR and
26   Lobbyist B had a discussion via text message regarding PAC A.
27   Specifically, Lobbyist B wrote: “Are you checking the Confide App for
28   texting on your iPhone?”      Lobbyist B further wrote: “I was going to

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 1   text you about your meeting with [PAC A’s attorney]. Wanted to see if

 2   we got any clarification. Confide is good for texting because it is

 3   like Snap Chat...message disappears.”

 4        Overt Act No. 222:      On March 1, 2018, defendant HUIZAR met with

 5   Lobbyist B and discussed Company M’s contributions to PAC A.
 6   Specifically, defendant HUIZAR asked for a $50,000 contribution to
 7   PAC A to be paid in two installments, $25,000 as soon as possible and
 8   another $25,000 by the end of the year, after Project M was approved.
 9   Lobbyist B agreed to convey the request to Executive M.
10        Overt Act No. 223:      On March 14, 2018, Lobbyist B met with
11   Executive M and relayed defendant HUIZAR’s request to have Company M
12   contribute $50,000 to PAC A, which Lobbyist B explained was designed
13   to benefit Relative A-1’s campaign for the CD-14 seat.           Executive M
14   agreed.
15        Overt Act No. 224:      On March 14, 2018, at approximately 4:00
16   p.m., defendant HUIZAR met with Lobbyist B to discuss PAC A,
17   including the fact that Executive M agreed to have Company M
18   contribute to PAC A.
19        Overt Act No. 225:      On March 15, 2018, Lobbyist B sent an e-mail
20   to Executive M with the subject line “[PAC A],” writing: “this is the
21   committee we previously discussed,” and attaching a contribution form
22   for PAC A.
23        Overt Act No. 226:      On March 26, 2018, defendant HUIZAR sent an
24   e-mail to himself, attaching a document titled “Fundraising Plan.”
25   The document included, among other things, company and individual
26   names, contribution amounts, and the person responsible for
27   soliciting contributions to PAC A and PAC B.          Under the PAC A
28

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 1   section, the document included an entry for Company M for $50,000,

 2   and listing Lobbyist B.

 3        Overt Act No. 227:      On April 13, 2018, defendant HUIZAR sent an

 4   e-mail to Lobbyist B, attaching a document titled “[PAC A]” that
 5   included, among other things, an entry for Company M for $50,000,
 6   with the note: “B/4 June. 2 checks. 2 Entities.”
 7        Overt Act No. 228:      On May 8, 2018, Executive M and Lobbyist B
 8   had a discussion via text message regarding a meeting with the
 9   Planning Department scheduled for the same day for Project M.
10   Specifically, Executive M wrote: “Very important that [City Staffer
11   A-2] calls [a Planning Department official] letting them know he
12   supports the height etc. please please make sure this happens prior.”
13   Lobbyist B later wrote: “[City Staffer A-2] will let them know their
14   position, and then make the changes in PLUM.”         Executive M later
15   wrote: “This would be a disaster if they took a position to deny[.]
16   This meeting seems to be a really bad idea now. When does JOSE
17   [HUIZAR] get back?”      Lobbyist B responded: “Spoke with [City Staffer
18   A-2]. He will speak with [the Planning Department official], and then
19   call me to report back prior to our meeting.”
20        Overt Act No. 229:      On May 8, 2018, defendant HUIZAR’s caused
21   City Staffer A-2 to advocate CD-14’s position and encourage a
22   Planning Department official to approve Project M to allow the
23   project to proceed to a hearing before the City Planning Commission.
24        Overt Act No. 230:      On May 22, 2018, Executive M received an e-
25   mail from Employee M, a Company M employee, sent to the CEO, with the
26   subject “[PAC A],” seeking approval for a $25,000 check to PAC A,
27   noting: “We have discussed this in the past.”
28

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 1        Overt Act No. 231:      On or about June 13, 2018, at defendant

 2   HUIZAR’s direction, Company M sent two checks from two separate

 3   entities, each made payable to PAC A, in the amount of $12,500 each

 4   for a total of $25,000, by U.S. Mail to the Company M office in Los

 5   Angeles, California, around the same time that the City Planning

 6   Commission approved Project M, allowing it to move forward to a

 7   hearing before the PLUM Committee and ultimately City Council.

 8        Additional $50,000 Commitment to PAC A in Exchange for Defendant
 9        HUIZAR’s Help on Project M
10        Overt Act No. 232:      On August 9, 2018, Lobbyist B sent an e-mail

11   to Executive M regarding Project M’s upcoming hearing before the PLUM
12   Committee, writing: “We need to address the Labor issue.
13   Seriously...we need to take [the executive of a labor union] off the
14   chess board.”    Lobbyist B and Executive M believed the labor union
15   was an issue that could affect Project M’s approval in the PLUM
16   Committee with the potential to create delays, increase costs,
17   threaten the viability of Project M, resulting in negative
18   repercussions for Executive M personally, including the potential
19   loss of his job.
20        Overt Act No. 233:      On September 4, 2018, in an e-mail,
21   Executive M asked Lobbyist B: “Any updates on HUIZAR meeting?”
22   Lobbyist B responded: “I’m having a one-on-one meeting with [HUIZAR],
23   and you’re #1 on the agenda.”
24        Overt Act No. 234:      On September 4, 2018, defendant HUIZAR met
25   with Lobbyist B regarding the labor union issue Company M was facing
26   on Project M.    During the meeting, Lobbyist B requested on behalf of
27   Executive M for defendant HUIZAR to vote against the labor union’s
28   appeal by approving Project M in the PLUM Committee.           Defendant

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 1   HUIZAR explained that voting against the labor union, which he

 2   considered an ally, could have negative ramifications on Relative A-

 3   1’s campaign.    Because of this risk, defendant HUIZAR told Lobbyist B

 4   that if he were to vote against the labor union in the PLUM

 5   Committee, then Company M would have to make it worthwhile, which

 6   Lobbyist B understood to mean that defendant HUIZAR expected a

 7   financial benefit from Company M in exchange for his efforts with the

 8   labor union.

 9        Overt Act No. 235:      On September 6, 2018, Lobbyist B and

10   Executive M met to discuss Project M and resolving its labor issue.
11   During the meeting, Lobbyist B discussed with Executive M that they
12   needed to make it worthwhile for defendant HUIZAR’s intervention with
13   the labor union.     Executive M and Lobbyist B agreed that Company M
14   should offer to make an additional $50,000 contribution to PAC A.
15   Company M had previously agreed to contribute $50,000, and paid the
16   first installment in June 2018.       This additional $50,000 contribution
17   would bring the total agreed-upon contributions on behalf of Company
18   M to PAC A to $100,000 in exchange for defendant HUIZAR’s assistance
19   with Project M.
20        Overt Act No. 236:      On September 6, 2018, defendant HUIZAR and
21   Lobbyist B met outside a restaurant in Boyle Heights to discuss the
22   new arrangement with Executive M.       At the meeting, Lobbyist B
23   conveyed the offer of an additional $50,000 contribution to PAC A,
24   bringing the total to $100,000, and defendant HUIZAR agreed to accept
25   the contribution in exchange for voting to approve Project M over
26   objections by the labor union.       Defendant HUIZAR also requested a
27   private meeting with Executive M.
28

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 1        Overt Act No. 237:      On September 6, 2018, Lobbyist B asked

 2   Executive M via text message “Can you do dinner with HUIZAR on

 3   Tuesday, 9-25?”

 4        Overt Act No. 238:      On September 10, 2018, in a text message,

 5   Lobbyist B asked defendant HUIZAR: “Re: [Company M] & [Project M].
 6   You are meeting with [Executive M] on 9-25 to negotiate public
 7   benefits package. Could we target PLUM on 10-02 with the clear
 8   understanding that the item gets pulled from agenda with no deal?
 9   [City Staffer A-2] is waiting for direction from you before
10   scheduling.”
11        Overt Act No. 239:      On September 11, 2018, in a text message,
12   defendant HUIZAR asked Lobbyist B: “Hey, let’s talk about your
13   fundraiser for [Relative A-1] before event and who U are inviting. I
14   want to make sure we are hitting people up for right amount and we
15   are not calling same people.”       Lobbyist B replied: “Of course.”
16   Defendant HUIZAR then asked: “Oct 11 still good for you?”
17        Overt Act No. 240:      On September 11, 2018, just after the text
18   messages with defendant HUIZAR, Lobbyist B sent a text message to
19   Executive M stating: “Plan on 10-02 PLUM. But let’s discuss...”
20        Overt Act No. 241:      On September 12, 2018, while defendant
21   HUIZAR was negotiating the additional financial benefit he sought
22   from Executive M and Company M, defendant HUIZAR used his official
23   position as PLUM Committee Chair to postpone the committee’s hearing
24   on Project M to October 2, 2018, thereby causing the project to be
25   delayed until after he met with Executive M.
26        Overt Act No. 242:      On September 24, 2018, Lobbyist B told
27   defendant HUIZAR via text message: “We are meeting [Executive M]
28

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 1   tomorrow for dinner. Do you still want [a restaurant in downtown Los

 2   Angeles], or would you like someplace a bit more private?”

 3        Overt Act No. 243:      On September 24, 2018, Lobbyist B to

 4   Executive M via text message: “Meeting is moved to breakfast on 10-04
 5   @ 9 AM.”   Executive M replied: “But that pushes our date??? This is a
 6   disaster.”   Lobbyist B responded: “Yes....it pushes the date. It’s
 7   going to get done.”
 8        Overt Act No. 244:      On September 26, 2018, in a text message,
 9   Lobbyist B asked Executive M: “any chance you can do your one on one
10   dinner with HUIZAR THIS Friday, 9-28?”        Executive M replied: “Yes.
11   I’m assuming hearing date is the same?”
12        Overt Act No. 245:      On September 28, 2018, defendant HUIZAR and
13   Executive M met to discuss defendant HUIZAR’s support for Project M,
14   its approval in the PLUM Committee, and Company M’s support for the
15   PAC to benefit Relative A-1’s campaign.        During the same
16   conversation, Executive M offered to provide opposition research to
17   defendant HUIZAR on a young female former CD-14 staffer who planned
18   to file a lawsuit against defendant HUIZAR, and defendant HUIZAR
19   accepted this offer.      As part of their negotiation to help Project M,
20   defendant HUIZAR and Executive M also discussed Company M hiring
21   defendant HUIZAR after he left office.
22        Overt Act No. 246:      On September 28, 2018, defendant HUIZAR sent
23   a text message to Lobbyist B, writing: “Good meeting with [Executive
24   M]. He is willing to help [Relative A-1] committee. He will collect
25   from consultant/contractors. We didn’t discuss amount. Please enlist
26   him for your event and ask him to collect 15-20 k for your event.”
27

28

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 1        Overt Act No. 247:      On October 2, 2018, defendant HUIZAR used

 2   his official position as the PLUM Committee Chair to postpone his

 3   committee’s hearing on Project M to October 16, 2018.

 4        Overt Act No. 248:      On October 11, 2018, defendant HUIZAR,

 5   Executive M, Employee M, and Lobbyist B attended a fundraiser for
 6   Relative A-1 hosted by Lobbyist B.          At the fundraiser, Executive M
 7   provided defendant HUIZAR the opposition research against the young
 8   female staffer he had promised as part of their agreement for
 9   defendant HUIZAR to help Project M.
10        Overt Act No. 249:      On October 13, 2018, Executive M sent a text
11   message to Lobbyist B regarding the upcoming PLUM Committee hearing
12   for Project M, asking: “Anyone else on plum we should connect with?”
13   Lobbyist B replied: “I was thinking about it but I really don’t want
14   to call attention to it. I would rather let JOSE [HUIZAR] power play
15   it through.”
16        Overt Act No. 250:      On October 16, 2018, defendant HUIZAR voted
17   to deny the union appeal and to approve Project M in the PLUM
18   Committee, including accepting certain modifications requested by
19   Company M.     Specifically, the PLUM Committee accepted Company M’s
20   preferred modifications to the affordable housing restrictions,
21   thereby undoing the more stringent requirements recommended by the
22   City Planning Commission.      As a result of defendant HUIZAR’s approval
23   and undoing the CPC recommendations, Company M obtained significant
24   reductions to Project M’s affordable housing requirements, from 11%
25   “Very Low Income” units to 6% “Moderate Income” units.           Specifically,
26   defendant HUIZAR’s approval of Company M’s modifications decreased
27   low-income individuals’ access to the project while ensuring Company
28   M obtained an estimated $14 million in net savings.

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 1         Overt Act No. 251:     On October 16, 2018, after the PLUM

 2   Committee approval, in a text message, Lobbyist B told Executive M:

 3   “Let’s talk tomorrow. I’m seeing JOSE [HUIZAR] on Thursday, so I know

 4   he will bring up follow up on a few items,” referring to Company M’s

 5   commitment to contribute the remaining $75,000 to PAC A.

 6         Overt Act No. 252:     On October 18, 2018, defendant HUIZAR and

 7   Lobbyist B had a meeting at defendant HUIZAR’s residence, where
 8   defendant HUIZAR raised Company M’s commitment to contribute to PAC
 9   A.
10         Overt Act No. 253:     On October 31, 2018, defendant HUIZAR voted
11   to approve Project M in City Council.
12         Overt Act No. 254:     On October 31, 2018, Executive M wrote an e-
13   mail to the owners of Company M and other employees, writing: “Great
14   news, we just received final unanimous approval for [Project M] by
15   city council.    Although today is bit of a formality (PLUM is where
16   the discretion usually happens), this is the final step.”            Executive
17   M highlighted the benefits Company M was able to secure in PLUM from
18   defendant HUIZAR, writing: “our obligations related to rent
19   [affordable housing] restrictions and union involvement are minimal
20   compared to other future projects in the area.”          Executive M also
21   touted “the entitlement of the tallest building in the arts district
22   by 3 times (35 stories) in a wealthy opinionated hipster community”
23   as a “truly amazing” accomplishment.
24         Overt Act No. 255:     On or around October 31, 2018, Lobbyist B
25   updated a document tracking commitments and contributions made to PAC
26   A.   Among other things, the document had an entry for Company M with
27   the figure $25,000 in the column titled “Paid,” and $75,000 in the
28

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 1   column titled “Committed.”       In addition, in the “Comments” column,

 2   the entry for Company M stated “$75K by December.”

 3        Overt Act No. 256:        On November 1, 2018, Lobbyist B wrote to

 4   Executive M via text message, asking for a meeting to “go through the
 5   HUIZAR political stuff,” referring to the $75,000 contribution to PAC
 6   A Company M had committed to defendant HUIZAR in exchange for
 7   defendant HUIZAR’s now successful help with Project M.
 8                            (5)   Businessperson A Scheme
 9        Financial Benefits for Business Opportunities with Developers
10        Overt Act Nos. 257-289: On or about at least the following
11   dates, in exchange for defendant HUIZAR using his official position
12   to make introductions to developers and to advocate that such
13   developers use Businessperson A’s business to enhance Businessperson
14   A’s financial prospects, defendant HUIZAR accepted financial benefits
15   from Businessperson A, including cash, hotel rooms,
16   prostitution/escort services, meals, and other gifts in the following
17   approximate amounts:
18         Overt          Date            Financial benefit           Amount
          Act No.
19          257       06/13/2016           suit and shirts            $6,000
20
            258       11/18/2016                  meal              $1,210.88
21
            259       11/18/2016                 shirts             $1,869.03
22
            260      January 2017                cash                 $10,000
23
            261       01/13/2017         hotel accommodation          $286.13
24
            262       01/19/2017         hotel accommodation          $483.36
25
            263      February 2017               cash                 $10,000
26

27          264       March 2017                  cash                $10,000

28          265       03/15/2017         hotel accommodation          $561.10

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 1         Overt          Date           Financial benefit            Amount
          Act No.
 2          266       03/25/2017        resort accommodation          $298.36
 3
            267       03/25/2017              golf club               $432.75
 4                                          accommodation

 5          268       April 2017                  cash                $10,000

 6          269       04/06/2017        hotel accommodation           $311.12
 7          270       04/24/2017        hotel accommodation           $423.58
 8          271       04/28/2017        hotel accommodation           $572.61
 9
            272         May 2017                  cash                $10,000
10
            273       05/03/2017        hotel accommodation           $456.25
11
            274       05/09/2017        hotel accommodation           $381.64
12
            275       05/15/2017        hotel accommodation           $968.87
13
            276       05/17/2017        hotel accommodation           $346.75
14
            277       05/19/2017        hotel accommodation           $273.64
15

16          278       05/22/2017        hotel accommodation           $335.66

17          279       05/24/2017        hotel accommodation           $810.88

18          280       05/30/2017        hotel accommodation           $519.56

19          281        June 2017                  cash                $10,000
20          282       06/02/2017        hotel accommodation           $336.36
21
            283       06/05/2017        hotel accommodation           $79.75
22
            284       06/08/2017        hotel accommodation           $475.20
23
            285       06/12/2017                 statue               $920.00
24
            286       06/12/2017                 shoes                $449.32
25
            287       06/12/2017                 suits              $10,451.75
26
            288       06/19/2017        hotel accommodation         $1,513.49
27

28          289       06/26/2017        hotel accommodation           $322.33

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 1         Overt          Date           Financial benefit            Amount
          Act No.
 2                                                         TOTAL:     $91,090
 3

 4
          $25,000 Contribution to PAC B in Exchange for City Resolution
 5
          Overt Act No. 290:      On or about March 11, 2018, defendant HUIZAR
 6
     met with Businessperson A, who, unbeknownst to defendant HUIZAR, had
 7
     then begun acting at the direction of the FBI, on a golf course in
 8
     the City.   Defendant HUIZAR asked Businessperson A to contribute to
 9
     Relative A-1’s campaign.      Businessperson A stated that he would
10
     support the campaign, but that he needed help from defendant HUIZAR
11
     to provide an official resolution from the City recognizing
12
     Businessperson A’s business.       Defendant HUIZAR agreed to provide a
13
     City resolution and asked Businessperson A to contribute $25,000 to
14
     Relative A-1’s campaign.
15
          Overt Act No. 291:      On or about March 23, 2018, at defendant
16
     HUIZAR’s request, Businessperson A sent a check in the amount of
17
     $25,000 made payable to PAC B by U.S. Mail from Los Angeles County to
18
     PAC B in Sacramento, California, intended to benefit Relative A-1’s
19
     campaign.
20
          Overt Act No. 292:      On or about April 10, 2018, defendant HUIZAR
21
     caused the CD-14 office to issue a City resolution in the form of a
22
     certificate of recognition signed by all City Council members,
23
     recognizing Businessperson A to promote Businessperson A’s business
24
     and reputation in the City.
25
          Overt Act No. 293:      On or about May 31, 2018, defendant HUIZAR
26
     met with Businessperson A, who was acting at the direction of the
27
     FBI, at defendant HUIZAR’s City Hall office.          As promised when
28
     Businessperson A agreed to contribute $25,000 to Relative A-1’s
                                       64
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 1   campaign, defendant HUIZAR delivered the City resolution recognizing

 2   Businessperson A.        At this meeting, defendant HUIZAR confirmed the

 3   PAC received Businessperson A’s $25,000 contribution, adding that

 4   “the people who have the PAC, they know ... you’re interested in

 5   helping [Relative A-1]. So it’s sitting there for the right time.”

 6        Cash Payment for Pressure on Developer to Hire Businessperson A
 7        Overt Act No. 294:        On August 25, 2018, defendant HUIZAR met

 8   with Businessperson A, who was acting at the direction of the FBI, at
 9   a golf course in the City.        During the meeting, defendant HUIZAR
10   asked Businessperson A for additional contributions to benefit
11   Relative A-1’s campaign.        During the same conversation, defendant
12   HUIZAR stated: “I’ll go down a list of people that I could start
13   introducing you to ...        people ... that I know need my help.... Like
14   for example, right now, [Company M] needs me.... So I could re-
15   introduce them to you.”        Businessperson A asked, regarding these
16   meetings, whether HUIZAR could “push” the developers to hire
17   Businessperson A.        Defendant HUIZAR responded: “Yeah ... for right
18   now they feel pressure, but they need me.”
19        Overt Act No. 295:        On September 24, 2018, defendant HUIZAR met
20   with Businessperson A, who was acting at the direction of the FBI, at
21   a restaurant in the City.        During the meeting, defendant HUIZAR
22   accepted $15,000 in cash from Businessperson A, who provided the cash
23   concealed in an envelope, which defendant HUIZAR then covered with a
24   napkin.   During this meeting, defendant HUIZAR stated that he had a
25   meeting with Company M the following day and that Company M’s project
26   was coming up for approval soon.         Defendant HUIZAR stated that
27   Company M “need[s] a lot of help from my office,” by which defendant
28   HUIZAR meant that Company M would feel pressure to hire

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 1   Businessperson A at defendant HUIZAR’s request because Company M

 2   needed defendant HUIZAR to perform favorable official acts in support

 3   of Company M’s project and not take adverse official acts in

 4   opposition to the project.        Defendant HUIZAR assured Businessperson A

 5   that he would make sure Company M scheduled a meeting with

 6   Businessperson A.        At the end of the meeting, after Businessperson A

 7   had departed, defendant HUIZAR counted the cash inside the envelope.

 8         Overt Act No. 296:       On September 28, 2018, at a dinner with

 9   Executive M, defendant HUIZAR asked Executive M to meet with
10   Businessperson A.
11                       (6)     Additional Pay-to-Play Conduct
12         CD-14 Developers/Proxies’ PAC Contributions to Benefit Relative
13         A-1’s Campaign and CD-14 Enterprise
14         Overt Act No. 297:       In or around May 2017, defendant HUIZAR,
15   Lobbyist B, HUIZAR Associate 3, and Esparza agreed to establish a PAC
16   that publicly was purported to benefit a broad array of candidates
17   and causes but was, in fact, primarily intended to benefit Relative
18   A-1’s campaign to succeed defendant HUIZAR as Councilmember for CD-
19   14.   Defendant HUIZAR agreed with Lobbyist B, HUIZAR Associate 3, and
20   Esparza to pressure developers with projects in CD-14 to contribute
21   to the PAC in exchange for favorable treatment and to avoid adverse
22   action against their projects in the PLUM Committee, Economic
23   Development Committee, and City Council.
24         Overt Act No. 298:       On May 10, 2017, in a telephone call,
25   Esparza and Chiang discussed how defendant HUIZAR was using a PAC to
26   obtain additional financial benefits from developers in exchange for
27   not taking adverse action against them.          Specifically, Esparza told
28   Chiang: “[defendant HUIZAR’s] approach is that he’s going to um,

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 1   strong arm everyone ... to the PAC. [Company D], [Company F]. ‘This

 2   is what I want right now. This is my [relative], this is what we are

 3   doing.’ So his idea in his mind is that okay, people are going to

 4   support us because they don’t want people to fuck with projects, you

 5   know.”

 6          Overt Act No. 299:    On May 11, 2017, in a telephone call,

 7   Esparza and Executive Director E discussed punishing a developer who
 8   was not providing financial benefits to defendant HUIZAR by
 9   withholding approvals for the developer’s project.          Specifically,
10   Esparza said: “[Company G] has not come through with any other
11   commitments to us, to you, so you know, why even be helpful to them,
12   you know, that’s my thing... So I’m going to tell [defendant HUIZAR]
13   that I spoke to you and let’s just continue to ignore them, you know.
14   We are not going to help them.”       Executive Director E then added:
15   “And even [Individual 1] doesn’t want you guys to work with [Company
16   G].”
17          Overt Act No. 300:    On June 2, 2017, in a telephone call,
18   defendant HUIZAR, Relative A-1, and Lobbyist B discussed establishing
19   a PAC to support Relative A-1’s campaign.        Lobbyist B explained: “the
20   PAC ... that’s going to be strictly political money and, you know,
21   two years from now, or three years, there’ll be a million dollars in
22   there.   You won’t be able to direct it, but there’ll be people, you
23   know, [who] are like minded.”
24          Overt Act No. 301:    On June 22, 2017, defendant HUIZAR met with
25   Lobbyist B, Esparza, and Kim and discussed establishing a PAC to
26   raise money for Relative A-1’s campaign.        During this meeting,
27   defendant HUIZAR suggested having Kim find an associate to serve as
28

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 1   the “face” of the PAC to disguise defendant HUIZAR’s involvement and

 2   the PAC’s connection to CD-14.

 3        Overt Act No. 302:      On September 14, 2017, defendant HUIZAR and

 4   Esparza had a text message conversation regarding compiling a list of
 5   donors to target for fundraising for Relative A-1’s campaign, which
 6   they referred to as the “Executive 2” strategy meetings, focusing on
 7   developers with upcoming hearings before the PLUM Committee, which
 8   defendant HUIZAR chaired.      Defendant HUIZAR texted Esparza: “Please
 9   get the [City Staffer A-2] list that he gave u about projects going
10   to cpc and plum and let’s discuss me and u at every Thursday exec.#2
11   meeting.”
12        Overt Act No. 303:      On October 20, 2017, defendant HUIZAR and
13   Esparza had a conversation about targeting developers with projects
14   pending before committees on which defendant HUIZAR sat in order to
15   obtain financial benefits from them.        Specifically, defendant HUIZAR
16   texted Esparza: “[Company H] is on economic development committee on
17   Tuesday for tot [Transient Occupancy Tax rebates]. Have u spoken with
18   those guys?”    Esparza responded: “Hey boss, here is a quick
19   update. Just had my last meeting. [Company I]/[Lobbyist I]-
20   good. [Company H]/[Lobbyist C]- good. [Company J]/[Consultant J]-
21   good. All commitments have been made.”
22        Overt Act No. 304:      On October 24, 2017, defendant HUIZAR again
23   sought to confirm with Esparza that certain developers and
24   consultants committed to contribute to PACs to benefit Relative A-1’s
25   campaign before taking favorable actions on the projects in the
26   Economic Development and PLUM Committees.        Specifically, defendant
27   HUIZAR texted Esparza: “[Company H] is in committee today...”
28   Defendant HUIZAR then followed up: “Everything being handled?”

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 1   Esparza responded: “Yes sir.” Defendant HUIZAR then texted: “The

 2   [Company I] sign district is in committee today.”           Esparza responded:

 3   “Yes. Being handled as well.”

 4        Overt Act No. 305:      On December 4, 2017, defendant HUIZAR

 5   created a spreadsheet titled “Initial Commitments to PAC,” listing
 6   companies, consultants, and contribution amounts, totaling
 7   $500,000.   Several of those listed had pending projects in defendant
 8   HUIZAR’s district, which defendant HUIZAR, including the following:
 9                  Company            Commitment              Notes

10               [Company H]            $25,000             [Lobbyist C]

11               [Company I]            $25,000             [Lobbyist I]

12               [Company J]            $50,000            [Consultant J]

13
          Overt Act No. 306:      On March 26, 2018, defendant HUIZAR caused
14
     Company H to make a contribution of $10,000 to PAC B.
15
          Overt Act No. 307:      On June 19, 2018, defendant HUIZAR caused
16
     Company J to make a contribution of $25,000 to PAC A.
17
          CD-14 Developers/Proxies’ Contributions to Defendant HUIZAR
18
          Campaigns and Officeholder Accounts
19
          Overt Act No. 308:      On May 18, 2015, at defendant HUIZAR’s
20
     direction, Esparza created a document titled “HUIZAR Debt Finance
21
     Plan,” which documented defendant HUIZAR’s solicitation efforts of
22
     contributions from developers, consultants, and allies towards
23
     defendant HUIZAR’s 2015 re-election campaign debt, including many
24
     developers and consultants who had projects in CD-14 and/or were
25
     going through the City approval process.        The plan included:
26
     (1) $40,000 from Kim; (2) $20,000 from Chairman E; (3) $20,000 from
27

28

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 1   Company G through Executive Director E; (4) $10,000 from Company D;

 2   and (5) $10,000 from Individual 1.

 3        CD-14 Developers/Proxies’ Contributions to School that Employed
 4        Relative A-1 as a Fundraiser
 5        Overt Act No. 309:      Beginning in or around March 2015, at

 6   defendant HUIZAR’s direction, Esparza solicited donations to High
 7   School A’s annual gala event from developers and consultants with
 8   projects pending in defendant HUIZAR’s district.            Part of the money
 9   raised from the gala event was used to pay salaried employees,
10   including Relative A-1.
11        Overt Act No. 310:      On May 18, 2015, Esparza created a document
12   titled “[High School A] Fundraising Plan.”            The document included
13   commitments from: (1) Company D for $10,000; (2) Chairman E for
14   $20,000; (3) Company F for $10,000; and (4) Company L for $30,000.
15        Overt Act No. 311:      On or around September 28, 2015, defendant
16   HUIZAR attended High School A’s annual gala, which, at defendant
17   HUIZAR’s request, was sponsored by the following companies, among
18   others, in the following amounts: (1) $25,000 by Company L; (2)
19   $10,000 by Company D; (3) $10,000 by Company F; and (4) $5,000 by
20   Company K.
21        Steering CD-14 Developers to Preferred Firms
22        Overt Act No. 312:      In or around 2012, defendant HUIZAR
23   pressured Developer N to hire HUIZAR Associate 3 as a consultant on
24   Developer N’s development project in CD-14.           Developer N complied
25   with the request.
26        Overt Act No. 313:      In or around May 2013, defendant HUIZAR
27   organized a dinner between Developer N, HUIZAR Associate 3, and a
28   partner of Law Firm A, which paid Relative A-1 a bi-weekly salary of

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 1   $2,500.    Developer N understood that defendant HUIZAR was asking

 2   Developer N to hire Law Firm A because it paid Relative A-1 and in

 3   exchange for defendant HUIZAR’s support on the development project

 4   pending in CD-14.

 5        Overt Act No. 314:      In or around March 2014, defendant HUIZAR

 6   organized a meeting with Company D and HUIZAR Associate 1, and
 7   encouraged Company D to hire HUIZAR Associate 1 as a consultant on
 8   Project D.
 9        Overt Act No. 315:      On February 25, 2016, defendant HUIZAR
10   instructed Esparza by text message: “Please work it out with George
11   [Chiang] ... to set up a meeting with [Developer K] and [Law Firm A
12   partner] ... Let them know that [Relative A-1] works at [Law Firm A]
13   and we want to make introduction to see if [the company] ever needs
14   legal defense. Please keep me posted.”
15        Overt Act No. 316:      In or around 2017, at defendant HUIZAR’s
16   request, Company O with projects pending in CD-14 agreed to hire
17   HUIZAR Associate 3 as a consultant with a monthly retainer of
18   $10,000.
19             (7)   Defendant HUIZAR’s Concealment of Illicit Benefits
20        Transporting of Cash into United States and Structuring to Avoid
21        Reporting Requirements
22        Overt Act No. 317:      On January 1, 2016, defendant HUIZAR,
23   Esparza, Chairman E, and Executive Director E traveled to Australia,
24   where defendant HUIZAR and Esparza accepted financial benefits from
25   Chairman E, including private jet flights for Esparza, a $10,980
26   commercial airline ticket for defendant HUIZAR, hotels, meals,
27   alcohol, and other expenses.       In addition, Chairman E provided
28

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 1   defendant HUIZAR and Esparza casino gambling chips, which defendant

 2   HUIZAR and Esparza cashed out in Australian dollars.

 3        Overt Act No. 318:      After the Australia trip, defendant HUIZAR

 4   and Esparza discussed evading bank reporting requirements by
 5   converting Australian dollars to American dollars.          Specifically, on
 6   February 8, 2016, Esparza told defendant HUIZAR via text message:
 7   “They are asking me for my drivers license and social security for
 8   IRS record. Do you think it’s fine to leave my info?”           Defendant
 9   HUIZAR responded: “No. Maybe we can change a little at a time...under
10   10 k in future.”     Defendant HUIZAR also wrote: “Don’t exchange if
11   they are asking u for all that info.”        Defendant HUIZAR later
12   instructed Esparza: “Go to the other place tomorrow and take 9 k. See
13   if they change 9 k without getting your social security number.”
14   Defendant HUIZAR added: “Even if they take your social security, it
15   doesn’t mean that they will report to irs. They probably will just
16   keep it for their records but not do anything with tax reporting.”
17        Overt Act No. 319:      On February 9, 2016, at defendant HUIZAR’s
18   direction, Esparza exchanged 10,000 Australian dollars into American
19   dollars.   Esparza then reported to defendant HUIZAR in a text
20   message: “I exchanged 10k today. Will do another tomorrow. If it's
21   under 10k, they will not report.”       Defendant HUIZAR then told Esparza
22   to ask for a better exchange rate the next day.
23        Overt Act No. 320:      On February 10, 2016, at defendant HUIZAR’s
24   direction, Esparza exchanged another 10,000 Australian dollars into
25   American dollars.
26        Overt Act No. 321:      On February 14, 2016, defendant HUIZAR
27   texted Esparza: “(1). U back?       How did chairman [E] do? (2). For last
28   batch to exchange, I think it is 12,800 (correct?). ...see if u can

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 1   bargain with either of two places in dtla for more than .68.             The

 2   Australian dollar has gotten stronger and is close to .72 official

 3   exchange.” Esparza responded: “I came home. Chairman [E] is up 2mil.

 4   Ok. I’ll see if I can get close to .72.”

 5        Overt Act No. 322:       On February 17, 2016, at defendant HUIZAR’s

 6   direction, Esparza exchanged another 12,800 Australian dollars into
 7   American dollars, and confirmed to defendant HUIZAR by text message:
 8   “I was able to get you .69 exchange rate” and that “chairman [E] won
 9   3 mil.”    Defendant HUIZAR responded: “Wow. Wow. Wow.”
10        Money Laundering through Family Members
11        Overt Act Nos. 323-356:        On or about the below dates, in order
12   to conceal and disguise the nature, source, ownership, and control of
13   proceeds from defendant HUIZAR’s pay-to-play scheme, defendant HUIZAR
14   caused Relative A-2 to deposit cash into Relative A-2’s checking
15   account and thereafter pay defendant HUIZAR directly or indirectly:
16      Overt                                                           Payment to
                                                              Cash
         Act       Date              Description                         Defendant
17                                                          Deposit
         No.                                                               HUIZAR
         323                  Defendant HUIZAR
18                            deposited check from
                01/08/14                                                  $15,000
                              Relative A-2 into his
19                            checking account
                              Defendant HUIZAR
20                            deposited check from
         324    04/08/14                                                  $5,000
                              Relative A-2 into his
21                            checking account
                              Relative A-2 deposited
22       325    11/03/14      cash into checking             $5,000
                              account
23
                              Defendant HUIZAR
24                            deposited check from
         326    11/18/14                                                  $4,900
                              Relative A-2 into his
25                            checking account
                              Relative A-2 deposited
26       327    12/03/14      cash into checking             $7,000
                              account
27

28

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 1      Overt                                                           Payment to
                                                              Cash
         Act       Date              Description                         Defendant
 2                                                          Deposit
         No.                                                               HUIZAR
                              Relative A-2 wrote check
 3                            to pay defendant
         328    12/11/14                                                  $7,000
                              HUIZAR’s credit card
 4                            bill
                              Relative A-2 deposited
 5       329    03/12/15      cash into checking            $10,000
                              account
 6
                              Defendant HUIZAR
 7                            deposited check from
         330    03/12/15                                                  $10,000
                              Relative A-2 into his
 8                            checking account
                              Relative A-2 deposited
 9       331    04/08/15      cash into checking            $10,000
                              account
10                            Relative A-2 wrote a
                              check for defendant
11       332    04/21/15                                                 $4,272.66
                              HUIZAR’s loan interest
                              to Bank 1
12
                              Relative A-2 deposited
13       333    04/22/15      cash into checking             $2,300
                              account
14                            Relative A-2 made
                              electronic payment to
15       334    04/23/15                                                  $8,000
                              pay defendant HUIZAR’s
                              credit card
16                            Relative A-2 deposited
         335    07/03/15      cash into checking             $9,000
17                            account
18                            Relative A-2 wrote a
                              check for defendant
19       336    07/05/15      HUIZAR’s loan interest                     $2,895.91
                              to Bank 1
20
                              Relative A-2 wrote check
21                            to pay defendant
         337    07/13/15                                                 $2,492.45
                              HUIZAR’s credit card
22                            bill
                              Relative A-2 wrote check
23       338    07/14/15      to pay defendant                           $2,640.51
                              HUIZAR’s property taxes
24
                              Relative A-2 deposited
25       339    08/19/15      cash into checking             $8,100
                              account
26                            Relative A-2 wrote a
                              check to defendant
27       340    08/19/15                                                 $2,895.92
                              HUIZAR’s loan interest
                              to Bank 1
28

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 1      Overt                                                           Payment to
                                                              Cash
         Act       Date              Description                         Defendant
 2                                                          Deposit
         No.                                                               HUIZAR
                              Relative A-2 made
 3                            electronic payment to
         341    08/24/15                                                 $1,844.10
                              pay defendant HUIZAR’s
 4                            credit card bill
                              Relative A-2 made
 5                            electronic payment to
         342    08/24/15                                                 $3,042.47
                              pay defendant HUIZAR’s
 6                            credit card bill
                              Relative A-2 deposited
 7       343    01/04/16      cash into checking             $2,900
                              account
 8
                              Relative A-2 wrote check
 9                            to pay defendant
         344    01/06/16                                                  $704.57
                              HUIZAR’s credit card
10                            bill
                              Relative A-2 wrote a
11                            check for defendant
         345    01/23/16                                                 $2,895.91
                              HUIZAR’s loan interest
12                            to Bank 1
                              Relative A-2 deposited
13       346    01/25/16      cash into checking            $13,000
                              account
14
                              Relative A-2 wrote check
15                            to pay defendant
         347    01/27/16                                                 $7,730.22
                              HUIZAR’s credit card
16                            bill
                              Relative A-2 deposited
17       348    04/27/17      cash into checking             $9,000
                              account
18                            Relative A-2 wrote a
                              check for defendant
19       349    04/29/17                                                 $2,900.97
                              HUIZAR’s loan interest
                              to Bank 1
20
                              Relative A-2 deposited
21       350    06/02/17      cash into checking             $9,000
                              account
22                            Relative A-2 wrote check
                              to pay defendant
         351    06/08/17                                                $12,755.11
23                            HUIZAR’s credit card
                              bill
24                            Relative A-2 wrote a
                              check for defendant
         352    06/23/17                                                 $2,895.91
25                            HUIZAR’s loan interest
                              to Bank 1
26                            Relative A-2 deposited
         353    06/27/17      cash into checking             $6,000
27                            account
28

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 1      Overt                                                           Payment to
                                                              Cash
         Act       Date              Description                         Defendant
 2                                                          Deposit
         No.                                                               HUIZAR
                              Relative A-2 deposited
 3       354    07/19/17      cash into checking             $8,000
                              account
 4
                              Relative A-2 wrote check
 5                            to pay defendant
         355    07/27/17                                                $10,955.91
                              HUIZAR’s credit card
 6                            bill
                              Relative A-2 deposited
 7       356    09/19/17      cash into checking             $9,000
                              account
 8

 9                                                 TOTAL:   $108,300     $110,722

10

11        Overt Act Nos. 357-374:        On or about the below dates, in order
12   to conceal and disguise the nature, source, ownership, and control of
13   proceeds from defendant HUIZAR’s pay-to-play scheme, defendant HUIZAR
14   provided cash to Relative A-3 and caused Relative A-3 to pay
15   defendant HUIZAR directly or indirectly:
16      Overt                                                           Payment to
                                                               Cash
         Act       Date              Description                         Defendant
17                                                           Deposit
         No.                                                               HUIZAR
                              Defendant HUIZAR
18                            deposited two $7,500
         357    11/27/13      checks from Relative A-3                    $15,000
19
                              into his checking
20                            account
                              Defendant HUIZAR
21                            deposited check from
         358    01/08/14                                                  $10,000
                              Relative A-3 into his
22                            checking account
                              Defendant HUIZAR
23
                              deposited check from
         359    08/04/14                                                  $10,000
24                            Relative A-3 into his
                              checking account
25                            Defendant HUIZAR
                              deposited check from
26       360    08/29/14                                                  $10,000
                              Relative A-3 into his
                              checking account
27

28

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 1      Overt                                                           Payment to
                                                               Cash
         Act       Date              Description                         Defendant
 2                                                           Deposit
         No.                                                               HUIZAR
                              Relative A-3 wrote a
 3       361    12/23/14      check to pay defendant                      $10,000
                              HUIZAR’s legal fees
 4
                              Defendant HUIZAR
 5                            deposited check from
         362    11/16/15                                                  $9,000
                              Relative A-3 into his
 6                            checking account
                              Relative A-3 wrote a
 7                            check to pay defendant
         363    11/19/15                                                 $4,915.92
 8                            HUIZAR’s credit card
                              bill
 9                            Defendant HUIZAR
                              deposited check from
10       364    12/30/15                                                  $9,000
                              Relative A-3 into his
                              checking account
11
                              Relative A-3 wrote a
12       365    09/22/16      check to pay defendant
                                                                         $2,836.52
                              HUIZAR’s credit card
13                            bill
                              Relative A-3 wrote a
14       366    09/22/16      check to pay defendant
                                                                         $7,263.51
                              HUIZAR’s loan interest
15                            to Bank 1
16                            Relative A-3 wrote a
                              check to pay defendant
         367    11/09/16                                                 $5,451.68
17                            HUIZAR’s credit card
                              bill
18                            Relative A-3 deposited
         368    12/23/16      cash into checking             $10,000
19                            account
20                            Relative A-3 wrote a
         369    12/23/16      check to pay fee for                      $24,694.53
21                            defendant HUIZAR’s party
22                            Relative A-3 deposited
         370    02/17/17      cash into checking             $10,000
23                            account
                              Relative A-3 made
24                            electronic payment to
         371    02/17/17                                                 $7,263.52
                              pay defendant HUIZAR’s
25                            credit card bill
26                            Relative A-3 deposited
         372    02/27/17      cash into checking             $6,000
27                            account

28

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 1      Overt                                                               Payment to
                                                                 Cash
         Act       Date                Description                           Defendant
 2                                                             Deposit
         No.                                                                   HUIZAR
                              Relative A-3 deposited
 3       373    03/10/17      cash into checking               $3,000
                              account
 4
                              Relative A-3 made
 5       374    03/13/17      electronic payment to
                                                                            $7,464.99
                              defendant HUIZAR’s
 6                            credit card bill
 7                                                   TOTAL:    $29,000       $132,891
 8

 9        Overt Act Nos. 375-384:         On or about the below dates, in order
10   to conceal and disguise the nature, source, ownership, and control of
11   proceeds from defendant HUIZAR’s pay-to-play scheme, defendant HUIZAR
12   caused Relative A-1 to deposit cash into Relative A-1’s checking
13   account, and thereafter pay for household expenses:
14                Overt                                             Amount
                                Date         Description
                 Act No.
15

16                 375        04/05/16   Cash deposit                $500

17
                   376        06/23/16   Cash deposit                $400
18

19
                   377        08/16/16   Cash deposit                $500
20

21
                   378        09/15/16   Cash deposit                $500
22

23                 379        11/09/16   Cash deposit                $800
24

25                 380        12/02/16   Cash deposit               $1,000

26

27                 381        12/06/16   Cash deposit                $500

28

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 1                 Overt                                          Amount
                                Date        Description
                  Act No.
 2
                   382        12/21/16   Cash deposit              $500
 3

 4
                   383        01/30/17   Cash deposit              $500
 5

 6
                   384        02/08/17   Cash Deposit              $200
 7

 8                                                    TOTAL:      $5,400
 9

10
     (8)   Defendant HUIZAR’s Additional Concealment of Pay-to-Play Scheme
11
           Defendant HUIZAR’s Concern About Detection
12
           Overt Act No. 385:      On October 28, 2015, in an effort to attempt
13
     to conceal his corrupt relationship with Chairman E, their trips to
14
     Las Vegas, and the benefits provided and accepted at casinos,
15
     defendant HUIZAR sent a text message to Esparza about an upcoming
16
     trip to Las Vegas with Chairman E and Executive Director E, writing:
17
     “Check to see if [private] airplane checks your id. If they don’t,
18
     maybe I fly with u guys.”         Esparza responded: “Yes. [Executive
19
     Director E] says they check Id.”
20
           Overt Act No. 386:      On February 28, 2016, defendant HUIZAR and
21
     Esparza had a conversation via text messages regarding avoiding
22
     documentation of their joint trip to Las Vegas and the money they
23
     received there.     Esparza wrote: “No need to book flight. You can take
24
     plane back with chairman [E].”        Defendant HUIZAR asked: “They don’t
25
     check id?”    Esparza responded: “No Id.”       Later that day, defendant
26
     HUIZAR instructed Esparza: “When u have a chance, go and cash chips
27
     little by little bc if [Chairman E] loses, u won’t be able to cash.”
28
     Esparza responded: “Yes. That’s what I’m doing.”
                                       79
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 1        Overt Act No. 387:        On July 13, 2016, defendant HUIZAR and

 2   Esparza had a conversation via text message regarding an upcoming

 3   trip to Las Vegas with Chairman E and Executive Director E, and their

 4   concern about defendant HUIZAR being identified as traveling with

 5   Chairman E and Executive Director E.          Defendant HUIZAR wrote: “Let me

 6   know who is there and how [Chairman E] is doing [in terms of gambling

 7   winnings] so that I can determine if I go or not.”            Esparza responded

 8   that “the sheriff we met before” was part of the group.             Defendant

 9   HUIZAR later asked: “If sheriff guy there maybe I shouldn’t go?”                 The

10   same day, defendant HUIZAR asked Esparza by text: “Is [casino] strict

11   about ID?”   Esparza responded: “Not at all,” adding: “Haven’t checked

12   my ID and I’ve been playing.”

13        Overt Act No. 388:        On July 14, 2016, defendant HUIZAR warned

14   Esparza to avoid discussing their trips to Las Vegas with Chairman E
15   by phone, writing in an e-mail: “We should limit types of
16   conversations we just had on phone. For future reference. My bad.”
17        Overt Act No. 389:        On July 14, 2016, defendant HUIZAR again
18   warned Esparza to avoid phone discussions regarding Las Vegas trips
19   with Chairman E, writing in a text message: “Hey we should watch what
20   we say on phone.”        Esparza responded: “You’re right. We always have
21   to be safe.”
22        Failure to Report on Forms 700 and Tax Returns
23        Overt Act Nos. 390-397:         On or about the following dates, in an
24   effort to conceal the benefits defendant HUIZAR received from
25   developers as part of the pay-to-play scheme, defendant HUIZAR failed
26

27

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 1   to report any of the financial benefits discussed above on his Forms

 2   700 or tax returns for the calendar years 2014, 2015, 2016, and 2017:

 3                Overt          Date                Description
                 Act No.
 4
                   390        April 2015   2014 Form 700
 5

 6
                   391        April 2015   2014 Tax Return
 7

 8
                   392        April 2016   2015 Form 700
 9

10                 393        April 2016   2015 Tax Return
11

12                 394        April 2017   2016 Form 700

13

14                 395        April 2017   2016 Tax Return

15
                   396        April 2018   2017 Form 700
16

17
                   397        April 2018   2017 Tax Return
18

19
          Concealment of Large Cash Sum at Residence
20
          Overt Act No. 398:       On or about November 7, 2018, defendant
21
     HUIZAR possessed approximately $129,000 in cash hidden at his
22
     residence, which was made up of cash payments defendant HUIZAR had
23
     accepted from Chairman E and Businessperson A.
24
                  (9)    Defendant HUIZAR’s Obstructionist Conduct
25
          Overt Act No. 399:       On June 20, 2017, after Esparza told
26
     defendant HUIZAR that he was interviewed by the FBI and defendant
27
     HUIZAR asked Esparza about the FBI’s questions, and whether the FBI
28

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 1   asked questions about Businessperson A and Chairman E, defendant

 2   HUIZAR instructed Esparza not to tell anyone that Esparza disclosed

 3   the content of his FBI interview to defendant HUIZAR.

 4        Overt Act No. 400:      On December 28, 2017, in a conversation in

 5   defendant HUIZAR’s private bathroom in City Hall, Esparza referred to
 6   his FBI interviews the prior summer: “I did everything I could to
 7   make sure you’re protected. And I just really hope you know that.”
 8   In response, defendant HUIZAR stated: “Yeah, and that’s why I said we
 9   are both in this together.... We’re in it together.”
10        Overt Act No. 401:      On October 27, 2018, defendant HUIZAR
11   instructed Businessperson A not to disclose incriminating information
12   to the FBI, including instructing Businessperson A not to mention
13   anything about parties or “dessert,” meaning defendant HUIZAR’s use
14   of escort/prostitution services, which Businessperson A had provided
15   at parties Businessperson A hosted.
16        Overt Act No. 402:      On April 10, 2019, during an interview with
17   the U.S. Attorney’s Office and FBI during which defendant HUIZAR was
18   advised, in the presence of counsel, that lying to the government was
19   a crime, defendant HUIZAR falsely stated that: (a) he told Esparza
20   that the hundreds of thousands of dollars cash payment Kim provided
21   to Esparza was “yours, I do not want it”; and (b) he did not discuss
22   Esparza giving defendant HUIZAR the money from Kim in April 2018.
23

24

25

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 1                            COUNTS TWO THROUGH FIFTEEN

 2                      [18 U.S.C. §§ 1341, 1343, 1346, 2(b)]

 3   A.   THE SCHEME TO DEFRAUD

 4        40.   Beginning on an unknown date but no later than February
 5   2013, and continuing to the present, in Los Angeles County, within
 6   the Central District of California, and elsewhere, defendant HUIZAR,
 7   together with others known and unknown to the Grand Jury, knowingly
 8   and with intent to defraud, devised, participated in, and executed a
 9   scheme to defraud the City of Los Angeles and its citizens of their
10   right to the honest services of their public officials through
11   bribery and kickbacks, materially false and fraudulent pretenses and
12   representations, and the concealment of material information, which
13   violation affected at least one financial institution.
14   B.   MEANS AND METHODS OF THE SCHEME TO DEFRAUD
15        41.   The scheme to defraud operated, in substance, in the
16   following manner:
17              a.    In exchange for his official acts, defendant HUIZAR
18   and his co-schemers would demand, solicit, accept, and agree to
19   accept from developers and their proxies financial benefits,
20   including: (1) cash; (2) consulting and retainer fees; (3) favorable
21   loans; (4) gambling chips at casinos; (5) political contributions;
22   (6) flights on private jets and commercial airlines; (7) stays at
23   luxury hotels; (8) expensive meals; (9) spa services; (10) event
24   tickets to concerts, shows, and sporting events; (11) escort and
25   prostitution services; and (12) other gifts.
26              b.    In exchange for the bribes and kickbacks from co-
27   schemer developers and their proxies, defendant HUIZAR and his co-
28   schemers would agree to perform and perform the following types of

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 1   official acts, among others: (1) presenting motions and resolutions

 2   in various City committees to benefit projects; (2) voting on

 3   projects in various City committees, including the PLUM Committee,

 4   and City Council; (3) taking, or not taking, action in the PLUM

 5   Committee to expedite or delay the approval process and affect

 6   project costs; (4) exerting pressure on other City officials to

 7   influence the approval process of projects; (5) using their office to

 8   negotiate with and exert pressure on labor unions to resolve issues

 9   on projects; (6) leveraging voting and scheduling power to pressure

10   developers with projects pending before the City to affect their

11   business practices; and (7) introducing or voting on City resolutions

12   to enhance the professional reputation and marketability of

13   businesspersons in the City.

14              c.    Defendant HUIZAR and his co-schemers would conceal

15   their scheme by: (1) storing large amounts of cash in their

16   residences; (2) providing cash to family members and associates; (3)

17   directing payments to family members, associates, and entities to

18   avoid creating a paper trail between the developers, their proxies

19   and public officials; (4) using family members and associates to pay

20   expenses; (5) depositing cash at ATMs and banks in amounts under

21   $10,000 to avoid bank reporting requirements; (6) failing to disclose

22   payments and benefits received on Forms 700 and on tax returns; (7)

23   lying to law enforcement; (8) attempting to corruptly influence the

24   statements of others to law enforcement; and (9) using encrypted

25   messaging applications, including those utilizing a self-destructing

26   message system, to communicate about their scheme.

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 1   C.     USE OF WIRES

 2          42.   On or about the dates set forth below, within the Central

 3   District of California and elsewhere, defendant HUIZAR, for the

 4   purpose of executing the above-described scheme to defraud,

 5   transmitted and caused the transmission of the following items by

 6   means of wire communication in interstate and foreign commerce:

 7
                                        Project E
 8
     COUNT            DATE       WIRE TRANSMISSION
 9
     TWO           09/23/2014    Bank wire of $570,000 from defendant HUIZAR’s
10                               Bank 1 account ending in 0407 to a Wells
11                               Fargo account ending in 7209 in Los Angeles
                                 County, which was routed through Minnesota.
12
     THREE         10/19/2016    E-mail from Executive Director E to defendant
13                               HUIZAR, forwarding an e-mail and attachment
                                 from Chairman E regarding Project E, which
14                               traveled between two locations in Los Angeles
                                 County through a Google server located
15
                                 outside of California.
16
     FOUR          12/19/2016    E-mail from defendant HUIZAR to Executive
17                               Director E providing recommendations for
                                 consultants for Project E, which traveled
18                               between two locations in Los Angeles County
                                 through a Google server located outside of
19                               California.
20

21                                      Project C

22   COUNT            DATE       WIRE TRANSMISSION

23   FIVE          08/09/2016    E-mail from Kim to Esparza, forwarding an e-
                                 mail from Developer C attaching a copy of the
24                               labor union appeal filed against Project C,
                                 which traveled between two locations in Los
25                               Angeles County through a Google server
26                               located outside of California.

27

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 1
                                        Project D
 2
     COUNT            DATE       WIRE TRANSMISSION
 3
     SIX           06/15/2016    Wire bank transfer of $11,000 from a bank
 4
                                 account in Canada to a Union Bank account
 5                               ending in 6345 in Pasadena, California.

 6   SEVEN         07/19/2016    Wire bank transfer of $11,000 from a bank
                                 account in Canada to a Union Bank account
 7                               ending in 6345 in Pasadena, California.
 8   EIGHT         08/17/2016    Wire bank transfer of $11,000 from a bank
                                 account in Canada to a Union Bank account
 9
                                 ending in 6345 in Pasadena, California.
10
     NINE          09/09/2016    Wire bank transfer of $11,000 from a bank
11                               account in Canada to a Union Bank account
                                 ending in 6345 in Pasadena, California.
12
     TEN           11/14/2016    Wire bank transfer of $11,000 from a bank
13                               account in Canada to a Union Bank account
                                 ending in 6345 in Pasadena, California.
14

15   ELEVEN        11/30/2016    Wire bank transfer of $11,000 from a bank
                                 account in Canada to a Union Bank account
16                               ending in 6345 in Pasadena, California.

17   TWELVE        01/09/2018    E-mail from Esparza to defendant HUIZAR,
                                 attaching two documents titled “Copy of
18                               Commitments” and “IE Huizar Strategy,” which
                                 traveled between two locations in Los Angeles
19
                                 County through a Google server located
20                               outside of California.

21   THIRTEEN      01/16/2018    E-mail from defendant HUIZAR to his
                                 fundraiser, attaching a document titled
22                               “Initial Commitments to PAC,” which traveled
                                 between two locations in Los Angeles County
23                               through a Google server located outside of
24                               California.

25

26   D.     USE OF MAIL

27          43.   On or about the dates set forth below, within the Central

28   District of California and elsewhere, defendant HUIZAR, for the

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 1   purpose of executing the above-described scheme to defraud, willfully

 2   caused the following items to be placed in an authorized depository

 3   for mail matter to be sent and delivered by the United States Postal

 4   Service according to the directions thereon:

 5   COUNT        DATE          MAILING
 6   FOURTEEN     03/28/2018    An envelope containing a check in the amount
                                of $25,000 made payable to PAC B sent from
 7                              Businessperson A in Los Angeles County to PAC
 8                              B.

 9   FIFTEEN      06/13/2018    An envelope containing two checks from two
                                separate entities, each made payable to PAC
10                              A, in the amount of $12,500 each for a total
                                of $25,000, to the Company M office in Los
11                              Angeles County.
12

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 1                            COUNTS SIXTEEN THROUGH NINETEEN

 2                            [18 U.S.C. §§ 1952(a)(3), 2(b)]

 3        44.   On or about the dates set forth below, within the Central

 4   District of California and elsewhere, defendant HUIZAR knowingly and

 5   intentionally traveled and willfully caused travel in interstate and

 6   foreign commerce, as set forth below, with the intent to promote,

 7   manage, establish, carry on, and facilitate the promotion,

 8   management, establishment, and carrying on of unlawful activity,

 9   namely, bribery, in violation of California Penal Code Sections 67,

10   67.5, and 68, and, thereafter performed and attempted to perform acts

11   to promote, manage, establish, carry on, and facilitate the

12   promotion, management, establishment, and carrying on of the unlawful

13   activity, as set forth below:

14   COUNT        DATE            TRAVEL            SUBSEQUENT ACTS
15   SIXTEEN      01/01/2016      Defendant         Between January 1 and 10,
                                  HUIZAR and        2016, defendant HUIZAR
16                                Chairman E        caused, induced, and
17                                traveled from     procured Chairman E to pay
                                  Los Angeles,      group expenses, and
18                                California to     accepted approximately
                                  Australia.        32,800 in Australian
19                                                  currency from Chairman E,
                                                    in exchange for defendant
20                                                  HUIZAR agreeing to perform
                                                    official acts to benefit
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                                                    Project E.
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 1   COUNT        DATE          TRAVEL             SUBSEQUENT ACTS
 2   SEVENTEEN 04/30/2016       Defendant          Between April 30, 2016 and
                                HUIZAR and         May 2, 2016, defendant
 3                              Chairman E         HUIZAR caused, induced, and
 4                              traveled from      procured Chairman E to pay
                                Los Angeles,       approximately $127,256 in
 5                              California to      group expenses, and
                                Las Vegas,         accepted approximately
 6                              Nevada.            $10,000 in casino gambling
                                                   chips from Chairman E, in
 7                                                 exchange for defendant
                                                   HUIZAR agreeing to perform
 8
                                                   official acts to benefit
 9                                                 Project E.

10   EIGHTEEN     08/05/2016    Defendant          Between August 5 and August
                                HUIZAR and         7, 2016, defendant HUIZAR
11                              Chairman E         caused, induced, and
                                traveled from      procured Chairman E to pay
12                              Los Angeles,       approximately $60,463 in
13                              California to      group expenses, and
                                Las Vegas,         accepted approximately
14                              Nevada.            $11,000 in casino gambling
                                                   chips from Chairman E, in
15                                                 exchange for defendant
                                                   HUIZAR agreeing to perform
16                                                 official acts to benefit
17                                                 Project E.

18   NINETEEN     02/04/2017    Defendant          Between February 4 and
                                HUIZAR and         February 6, 2017, defendant
19                              Chairman E         HUIZAR caused, induced, and
                                traveled from      procured Chairman E to pay
20                              Los Angeles,       approximately $16,822 in
                                California to      group expenses, and
21                              Las Vegas,         accepted approximately
22                              Nevada.            $10,000 in casino gambling
                                                   chips from Chairman E, in
23                                                 exchange for defendant
                                                   HUIZAR agreeing to perform
24                                                 official acts to benefit
                                                   Project E.
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 1                                    COUNT TWENTY

 2                             [18 U.S.C. § 666(a)(1)(B)]

 3        45.   Between in or about August 1, 2015 and in or about December

 4   2018, in Los Angeles County, within the Central District of

 5   California, defendant HUIZAR, an agent of the City of Los Angeles,

 6   corruptly solicited and demanded for the benefit of himself and

 7   others, and accepted and agreed to accept, something of value from a

 8   person, intending to be influenced and rewarded in connection with a

 9   business, transaction, and series of transactions of the City of Los

10   Angeles having a value of $5,000 or more.        Specifically, defendant

11   HUIZAR solicited, demanded, accepted, and agreed to accept financial

12   benefits from Chairman E, including casino gambling chips,

13   accommodations, and travel expenses, and approximately $575,000 in

14   collateral applied to defendant HUIZAR’s personal loan from Bank 1,

15   intending to be influenced and rewarded in connection with Project E,

16   including in: (1) presenting motions and resolutions in various City

17   committees to benefit Project E; (2) voting on Project E in various

18   City committees, including the PLUM Committee, and City Council; (3)

19   taking action in the PLUM Committee to expedite the approval process

20   of Project E; and (4) exerting pressure on other City officials to

21   influence the approval process of Project E.

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 1                                  COUNT TWENTY-ONE

 2                             [18 U.S.C. § 666(a)(1)(B)]

 3        46.     Between on or about August 8, 2016, and on or about July

 4   31, 2017, in Los Angeles County, within the Central District of

 5   California, defendant HUIZAR, an agent of the City of Los Angeles,

 6   corruptly solicited and demanded for the benefit of himself and

 7   others, and accepted and agreed to accept, something of value from a

 8   person, intending to be influenced and rewarded in connection with a

 9   business, transaction, and series of transactions of the City of Los

10   Angeles having a value of $5,000 or more.         Specifically, defendant

11   HUIZAR solicited, demanded, accepted, and agreed to accept from

12   Developer C $500,000 in cash, intending to be influenced and rewarded

13   in connection with Project C, including in: (1) pressuring Labor

14   Organization A to dismiss its appeal against Project C and (2) voting

15   to deny Labor Organization A’s appeal against Project C in the PLUM

16   Committee.

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 1                                  COUNT TWENTY-TWO

 2                             [18 U.S.C. § 666(a)(1)(B)]

 3        47.   Between in or about June 2016 and in or about November

 4   2016, in Los Angeles County, within the Central District of

 5   California, defendant HUIZAR, an agent of the City of Los Angeles,

 6   corruptly solicited and demanded for the benefit of himself and

 7   others, and accepted and agreed to accept, something of value from a

 8   person, intending to be influenced and rewarded in connection with a

 9   business, transaction, and series of transactions of the City of Los

10   Angeles having a value of $5,000 or more.         Specifically, defendant

11   HUIZAR solicited, demanded, accepted, and agreed to accept from

12   Chairman D’s relative $66,000 in consulting fees paid to HUIZAR

13   Associate 1, intending to be influenced and rewarded in connection

14   with Project D, including in: (1) presenting motions and resolutions

15   in various City committees to benefit Project D; (2) voting on

16   Project D in various City committees, including the PLUM Committee,

17   and City Council; (3) taking action in the PLUM Committee to expedite

18   the approval process of Project D; and (4) exerting pressure on other

19   City officials to influence the approval process of Project D.

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 1                                 COUNT TWENTY-THREE

 2                             [18 U.S.C. § 666(a)(1)(B)]

 3        48.   Between in or about November 2017 and in or about November

 4   2018, in Los Angeles County, within the Central District of

 5   California, defendant HUIZAR, an agent of the City of Los Angeles,

 6   corruptly solicited and demanded for the benefit of himself and

 7   others, and agreed to accept, something of value from a person,

 8   intending to be influenced and rewarded in connection with a

 9   business, transaction, and series of transactions of the City of Los

10   Angeles having a value of $5,000 or more.        Specifically, defendant

11   HUIZAR solicited, demanded, and agreed to accept from Chairman D a

12   $100,000 campaign contribution to benefit Relative A-1’s campaign for

13   the CD-14 seat, intending to be influenced and rewarded in connection

14   with Project D, including in: (1) voting to approve Project D in the

15   PLUM Committee and City Council and (2) presenting a resolution in

16   the PLUM Committee to benefit Project D.

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 1                                 COUNT TWENTY-FOUR

 2                             [18 U.S.C. § 666(a)(1)(B)]

 3        49.   Between in or about January 2018 and in or about November

 4   2018, in Los Angeles County, within the Central District of

 5   California, defendant HUIZAR, an agent of the City of Los Angeles,

 6   corruptly solicited and demanded for the benefit of himself and

 7   others, and agreed to accept, something of value from a person,

 8   intending to be influenced and rewarded in connection with a

 9   business, transaction, and series of transactions of the City of Los

10   Angeles having a value of $5,000 or more.        Specifically, defendant

11   HUIZAR solicited, demanded, and agreed to accept $100,000 in the form

12   of contributions to PAC A from Company M, intending to be influenced

13   and rewarded in connection with Project M, including in: (1) voting

14   to deny a labor union’s appeal against Project M in the PLUM

15   Committee and (2) voting to approve Project M in the PLUM Committee

16   and City Council.

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 1                                 COUNT TWENTY-FIVE

 2                             [18 U.S.C. § 666(a)(1)(B)]

 3        50.   Between in or about March 2018 and in or about May 2018, in

 4   Los Angeles County, within the Central District of California,

 5   defendant HUIZAR, an agent of the City of Los Angeles, corruptly

 6   solicited and demanded for the benefit of himself and others, and

 7   accepted and agreed to accept, something of value from a person,

 8   intending to be influenced and rewarded in connection with a

 9   business, transaction, and series of transactions of the City of Los

10   Angeles having a value of $5,000 or more.        Specifically, defendant

11   HUIZAR solicited, demanded, accepted, and agreed to accept $25,000 in

12   the form of a contribution to PAC B from Businessperson A, intending

13   to be influenced and rewarded in connection with providing a City

14   resolution to enhance the professional reputation and marketability

15   of Businessperson A and his business.

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 1                     COUNTS TWENTY-SIX THROUGH TWENTY-NINE

 2                     [18 U.S.C. §§ 1956(a)(1)(B)(i), 2(b)]

 3        51.    On or about the following dates, in Los Angeles County,

 4   within the Central District of California, and elsewhere, defendant

 5   HUIZAR, knowing that the property involved in each of the financial

 6   transactions described below represented the proceeds of some form of

 7   unlawful activity, knowingly conducted and attempted to conduct and

 8   willfully caused to be conducted, the following financial

 9   transactions affecting interstate commerce, which transactions, in

10   fact, involved the proceeds of specified unlawful activity, namely,

11   bribery, in violation of California Penal Code Sections 67, 67.5, and

12   68, mail fraud, in violation of Title 18, United States Code, Section

13   1341, and wire fraud, in violation of Title 18, United States Code,

14   Section 1343, knowing that each of the transactions was designed in

15   whole and in part to conceal and disguise the nature, location,

16   source, ownership, and control of the proceeds of such specified

17   unlawful activity:

18     COUNT       DATE           FINANCIAL TRANSACTION
19     TWENTY-      04/27/2017    The deposit of $9,000 in cash into
       SIX                        Relative A-2’s Checking Account.
20
       TWENTY-      04/29/2017    The issuance of a check for $2,800.97
21
       SEVEN                      from Relative A-2’s Checking Account
22                                to pay the interest on defendant
                                  HUIZAR’s Bank 1 Loan.
23
       TWENTY-      06/02/2017    The deposit of $9,000 in cash into
24     EIGHT                      Relative A-2’s Checking Account.
25     TWENTY-      06/08/2017    The issuance of a check for $12,755.11
       NINE                       from Relative A-2’s Checking Account
26                                to pay defendant HUIZAR’s Chase Credit
                                  Card bill.
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 1                                    COUNT THIRTY

 2                     [18 U.S.C. §§ 1956(a)(2)(B)(i), 2(b)]

 3        52.   On or about January 10, 2016, in Los Angeles County, within

 4   the Central District of California, and elsewhere, defendant HUIZAR

 5   knowingly transported, transmitted, transferred, and willfully caused

 6   to be transported, transmitted, and transferred, monetary

 7   instruments, namely, approximately 32,800 in Australian currency, to

 8   a place in the United States from and through a place outside the

 9   United States, namely, Australia, knowing that the monetary

10   instruments involved in the transportation, transmission, and

11   transfer represented the proceeds of some form or unlawful activity,

12   and which monetary instruments, in fact, involved the proceeds of

13   specified unlawful activity, namely, bribery, in violation of

14   California Penal Code Sections 67, 67.5, and 68, mail fraud, in

15   violation of Title 18, United States Code, Section 1341, and wire

16   fraud, in violation of Title 18, United States Code, Section 1343,

17   and knowing that such transportation, transmission, and transfer was

18   designed in whole and in part to conceal and disguise the nature,

19   location, ownership, and control of the proceeds of said specified

20   unlawful activity.

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 1                                  COUNT THIRTY-ONE

 2                             [31 U.S.C. § 5324(a)(3)]

 3          53.   On or about the dates set forth below, in Los Angeles

 4   County, within the Central District of California, defendant HUIZAR,

 5   knowingly and for the purpose of evading the reporting requirements

 6   of Section 5313(a) of Title 31, United States Code, and the

 7   regulations promulgated thereunder, structured and assisted in

 8   structuring, and attempted to structure and assisted in structuring,

 9   the following financial transactions with one or more domestic

10   financial institutions:

11   DATE            DESCRIPTION
12   02/09/2016      At the direction of defendant HUIZAR, who knew the
                     reporting requirements and intended to evade them,
13                   Esparza exchanged 10,000 Australian dollars into U.S.
14                   currency at a currency exchange institution in the
                     City.
15
     02/10/2016      At the direction of defendant HUIZAR, who knew the
16                   reporting requirements and intended to evade them,
                     Esparza exchanged 10,000 Australian dollars into U.S.
17                   currency at a currency exchange institution in the
                     City.
18
     02/17/2016      At the direction of defendant HUIZAR, who knew the
19
                     reporting requirements and intended to evade them,
20                   Esparza exchanged 12,800 Australian dollars into U.S.
                     currency at a currency exchange institution in the
21                   City.
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 1                                  COUNT THIRTY-TWO

 2                                 [18 U.S.C. § 1014]

 3        54.   On or about March 24, 2016, in Los Angeles County, within

 4   the Central District of California, defendant HUIZAR knowingly made a

 5   false statement and report for the purpose of influencing the action

 6   of Bank of America, an institution the deposits of which were then

 7   federally insured, in connection with an application, advance,

 8   commitment, and loan, in that defendant HUIZAR signed and submitted

 9   to Bank of America a Uniform Residential Loan Application,

10   intentionally omitting from defendant HUIZAR’s liabilities a loan

11   owed by defendant HUIZAR to Bank 1 in the amount of $570,000, when in

12   fact, as he then knew, defendant HUIZAR had a loan from Bank 1 in the

13   amount of $570,000.

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 1                                 COUNT THIRTY-THREE

 2                              [18 U.S.C. § 1001(a)(2)]

 3         55.   On or about April 10, 2019, in Los Angeles County, within

 4   the Central District of California, in a matter within the

 5   jurisdiction of the executive branch of the government of the United

 6   States, namely, the FBI and U.S. Attorney’s Office, defendant HUIZAR

 7   knowingly and willfully made materially false statements and

 8   representations to the FBI and U.S. Attorney’s Office, knowing that

 9   these statements and representations were untrue.           Specifically,

10   regarding the Project C bribery scheme, defendant HUIZAR falsely

11   stated that: (a) he told Esparza that the hundreds of thousands of

12   dollars cash payment Kim provided to Esparza was “yours, I do not

13   want it”; and (b) he did not discuss Esparza giving defendant HUIZAR

14   the money from Kim in April 2018.        In fact, as defendant HUIZAR then

15   knew, in March 2017, defendant HUIZAR instructed Esparza to hold onto

16   and hide the $200,000 cash at Esparza’s residence for defendant

17   HUIZAR; and, in December 2017, defendant HUIZAR confirmed with

18   Esparza the cash was defendant HUIZAR’s and directed Esparza to hold

19   onto the money for defendant HUIZAR until April 2018.

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 1                                  COUNT THIRTY-FOUR

 2                                 [26 U.S.C. § 7201]

 3         56.   Between in or about January 2017 through in or about April

 4   2018, in Los Angeles County, within the Central District of

 5   California, and elsewhere, defendant HUIZAR willfully attempted to

 6   evade and defeat income tax due and owing by him and his spouse to

 7   the United States of America, for the calendar year 2017, by

 8   committing the following affirmative acts, among others:

 9               a.    Causing Relative A-1, Relative A-2, and Relative A-3

10   to deposit cash bribes defendant HUIZAR received into bank accounts

11   owned by Relative A-1, Relative A-2, and Relative A-3 (the “Relative

12   Accounts”).

13               b.    Using funds in the Relative Accounts to pay for

14   defendant HUIZAR’s expenses, including credit card bills and interest

15   on a Bank 1 loan.

16               c.    Preparing, signing, and filing with the California

17   Fair Political Practices Commission a false Form 700, intentionally

18   omitting, among other things, income and financial benefits defendant

19   HUIZAR accepted in the calendar year 2017.

20               d.    Causing to be prepared, and signing and causing to be

21   signed, a false and fraudulent United States Individual Income Tax

22   Return, Form 1040, which was submitted to the Internal Revenue

23   Service.    On that tax return, defendant HUIZAR reported and caused to

24   be reported that his and his spouse’s joint taxable income on line 43

25   for the calendar year 2017 was $115,887, and that the amount of tax

26   due and owing thereon as stated on line 63 was $20,389.            In fact, as

27   defendant HUIZAR then knew, defendant HUIZAR and his spouse had joint

28   taxable income for the calendar year 2017 that was greater than the

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 1   amount reported on the tax return, and as a result of such additional

 2   taxable income, there was additional tax due and owing to the United

 3   States of America.

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 1                             FORFEITURE ALLEGATION ONE

 2                                 [18 U.S.C. § 1963]

 3         1.    Pursuant to Federal Rule of Criminal Procedure 32.2, notice

 4   is hereby given that the United States of America will seek

 5   forfeiture as part of any sentence, pursuant to Title 18, United

 6   States Code, Section 1963, and Title 28 United States Code, Section

 7   2461(c), in the event of the defendant’s conviction of the offense

 8   set forth in Count One of this Indictment.

 9         2.    The defendant, if so convicted, shall forfeit to the United

10   States of America the following:

11               a.    Any interest the convicted defendant has acquired or

12   maintained as a result of such offense;

13               b.    Any interest in, security of, claim against, or

14   property or contractual right of any kind affording a source or

15   influence over, any enterprise which the convicted defendant has

16   established, operated, controlled, conducted, or participated in the

17   conduct of, as a result of such offense;

18               c.    Any property constituting, or derived from, any

19   proceeds which the convicted defendant obtained, directly or

20   indirectly, from racketeering activity as a result of such offense;

21   and

22               d.    To the extent such property is not available for

23   forfeiture, a sum of money equal to the total value of the property

24   described in subparagraphs (a), (b), and (c).

25         3.    Pursuant to Title 18, United States Code, Section 1963(m),

26   the defendant, if so convicted, shall forfeit substitute property, up

27   to the total value of the property described in the preceding

28   paragraph if, as the result of any act or omission of the defendant,

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 1   the property described in the preceding paragraph, or any portion

 2   thereof (a) cannot be located upon the exercise of due diligence; (b)

 3   has been transferred, sold to or deposited with a third party; (c)

 4   has been placed beyond the jurisdiction of the court; (d) has been

 5   substantially diminished in value; or (e) has been commingled with

 6   other property that cannot be divided without difficulty.

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 1                             FORFEITURE ALLEGATION TWO

 2                                  [18 U.S.C. § 982]

 3         1.    Pursuant to Rule 32.2(a) of the Federal Rules of Criminal

 4   Procedure, notice is hereby given that the United States of America

 5   will seek forfeiture as part of any sentence, pursuant to Title 18,

 6   United States Code, Section 982(a)(2), and Title 28, United States

 7   Code, Section 2461(c), in the event of the defendant’s conviction of

 8   the offenses set forth in any of Counts Two and Thirty-Two of this

 9   Indictment.

10         2.    The defendant, if so convicted, shall forfeit to the United

11   States of America the following:

12               a.    All right, title and interest in any and all property,

13   real or personal, constituting, or derived from, any proceeds

14   obtained, directly or indirectly, as a result of the offense; and

15               b.    To the extent such property is not available for

16   forfeiture, a sum of money equal to the total value of the property

17   described in subparagraph (a).

18         3.    Pursuant to Title 21, United States Code, Section 853(p),

19   as incorporated by Title 18, United States Code, Section 982(b) and

20   Title 28, United States Code, Section 2461(c), the defendant, if so

21   convicted, shall forfeit substitute property, up to the total value

22   of the property described in the preceding paragraph if, as the

23   result of any act or omission of the defendant, the property

24   described in the preceding paragraph, or any portion thereof: (a)

25   cannot be located upon the exercise of due diligence; (b) has been

26   transferred, sold to or deposited with a third party; (c) has been

27   placed beyond the jurisdiction of the court; (d) has been

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 1   substantially diminished in value; or (e) has been commingled with

 2   other property that cannot be divided without difficulty.

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 1                             FORFEITURE ALLEGATION THREE

 2                    [18 U.S.C. § 981(a)(1)(C) and 28 U.S.C. § 2461(c)]

 3         1.    Pursuant to Rule 32.2 of the Federal Rules of Criminal

 4   Procedure, notice is hereby given that the United States of America

 5   will seek forfeiture as part of any sentence, pursuant to Title 18,

 6   United States Code, Section 981(a)(1)(C) and Title 28, United States

 7   Code, Section 2461(c), in the event of the defendant’s conviction of

 8   the offenses set forth in any of Counts Three through Twenty-Five of

 9   this Indictment.

10         2.    The defendant, if so convicted, shall forfeit to the United

11   States of America the following:

12               a.     All right, title and interest in any and all property,

13   real or personal, constituting, or derived from, any proceeds

14   traceable to any such offense; and

15               b.     To the extent such property is not available for

16   forfeiture, a sum of money equal to the total value of the property

17   described in subparagraph (a).

18         3.    Pursuant to Title 21, United States Code, Section 853(p),

19   as incorporated by Title 28, United States Code, Section 2461(c), the

20   defendant, if so convicted, shall forfeit substitute property, up to

21   the total value of the property described in the preceding paragraph

22   if, as the result of any act or omission of the defendant, the

23   property described in the preceding paragraph, or any portion

24   thereof: (a) cannot be located upon the exercise of due diligence;

25   (b) has been transferred, sold to or deposited with a third party;

26   (c) has been placed beyond the jurisdiction of the court; (d) has

27   been substantially diminished in value; or (e) has been commingled

28   with other property that cannot be divided without difficulty.

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 1                             FORFEITURE ALLEGATION FOUR

 2                    [18 U.S.C. § 982 and 28 U.S.C. § 2461(c)]

 3         1.    Pursuant to Rule 32.2(a) of the Federal Rules of Criminal

 4   Procedure, notice is hereby given that the United States will seek

 5   forfeiture as part of any sentence, pursuant to Title 18, United

 6   States Code, Section 982(a)(1) and Title 28, United States Code,

 7   Section 2461(c), in the event of the defendant’s conviction of the

 8   offenses set forth in any of Counts Twenty-Six through Thirty of this

 9   Indictment.

10         2.    The defendant, if so convicted, shall forfeit to the United

11   States of America the following:

12               a.    Any property, real or personal, involved in such

13   offense, and any property traceable to such property; and

14               b.    To the extent such property is not available for

15   forfeiture, a sum of money equal to the total value of the property

16   described in subparagraph (a).

17         3.    Pursuant to Title 21, United States Code, Section 853(p),

18   as incorporated by Title 18, United States Code, Section 982(b)(1),

19   and Title 18, United States Code, Section 982(b)(2), the defendant,

20   if so convicted, shall forfeit substitute property, if, by any act or

21   omission of the defendant, the property described in the preceding

22   paragraph, or any portion thereof: (a) cannot be located upon the

23   exercise of due diligence; (b) has been transferred, sold to, or

24   deposited with a third party; (c) has been placed beyond the

25   jurisdiction of the court; (d) has been substantially diminished in

26   value; or (e) has been commingled with other property that cannot be

27   divided without difficulty.       Substitution of assets shall not be

28   ordered, however, where the convicted defendant acted merely as an

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 1   intermediary who handled but did not retain the property in the

 2   course of the money laundering offense unless the defendant, in

 3   committing the offense or offenses giving rise to the forfeiture,

 4   conducted three or more separate transactions involving a total of

 5   $100,000.00 or more in any twelve-month period.

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 1                             FORFEITURE ALLEGATION FIVE

 2                                 [31 U.S.C. § 5317]

 3         1.    Pursuant to Rule 32.2(a) of the Federal Rules of Criminal

 4   Procedure, notice is hereby given that the United States of America

 5   will seek forfeiture as part of any sentence, pursuant to Title 31,

 6   United States Code, Section 5317, and Title 28, United States Code,

 7   Section 2461(c), in the event of the defendant’s conviction of the

 8   offense set forth in Count Thirty-One of this Indictment.

 9         2.    The defendant, if so convicted, shall forfeit to the United

10   States of America the following:

11               a.    All property, real or personal, involved in the

12   offense and any property traceable thereto; and

13               b.    To the extent that such property is not available for

14   forfeiture, a sum of money equal to the total value of the property

15   described in subparagraph (a).

16         3.    Pursuant to Title 21, United States Code, Section 853(p)

17   and Title 31, United States Code, Section 5317(c)(1)(B), the

18   defendant, if so convicted, shall forfeit substitute property, if, by

19   any act or omission of the defendant, the property described in the

20   preceding, or any portion thereof; (a) cannot be located upon the

21   exercise of due diligence; (b) has been transferred, sold to, or

22   deposited with a third party; (c) has been placed beyond the

23   jurisdiction of the court; (d) has been substantially diminished in

24   value; or (e) has been commingled with other property that cannot be

25   divided without difficulty.

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 1                             FORFEITURE ALLEGATION SIX

 2                    [26 U.S.C. § 7301 and 28 U.S.C. § 2461(c)]

 3         1.    Pursuant to Rule 32.2(a) of the Federal Rules of Criminal

 4   Procedure, notice is hereby given that the United States of America

 5   will seek forfeiture as part of any sentence, pursuant to Title 26,

 6   United States Code, Section 7301, and Title 28, United States Code,

 7   Section 2461(c), in the event of the defendant’s conviction of the

 8   offense set forth in Count Thirty-Four of this Indictment.

 9         2.    The defendant, if so convicted, shall forfeit to the United

10   States of America the following:

11               a.    Any property sold or removed by the defendant in fraud

12   of the internal revenue laws, or with design to avoid payment of such

13   tax, or which was removed, deposited, or concealed, with intent to

14   defraud the United States of such tax or any part thereof;

15               b.    All property manufactured into property of a kind

16   subject to tax for the purpose of selling such taxable property in

17   fraud of the internal revenue laws, or with design to evade the

18   payment of such tax;

19               c.    All property whatsoever, in the place or building, or

20   any yard or enclosure, where the property described in subsection (a)

21   or (b) is found, or which is intended to be used in the making of

22   property described in subsection (a), with intent to defraud the

23   United States of tax or any part thereof, on the property described

24   in subsection (a);

25               d.    All property used as a container for, or which shall

26   have contained, property described in subsection (a) or (b);

27               e.    Any property (including aircraft, vehicles, vessels,

28   or draft animals) used to transport or for the deposit or concealment

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 1   of property described in subsection (a) or (b), or any property used

 2   to transport or for the deposit or concealment of property which is

 3   intended to be used in the making or packaging of property described

 4   in subsection (a); and

 5               f.    To the extent that such property is not available for

 6   forfeiture, a sum of money equal to the total value of the property

 7   described in this paragraph.

 8         3.    Pursuant to Title 21, United States Code, Section 853(p),

 9   as incorporated by Title 28, United States Code, Section 2461(c), the

10   defendant, if so convicted, shall forfeit substitute property, up to

11   the total value of the property described in the preceding paragraph

12   if, as the result of any act or omission of the defendant, the

13   property described in the preceding paragraph, or any portion thereof

14   (a) cannot be located upon the exercise of due diligence; (b) has

15   been transferred, sold to or deposited with a third party; (c) has

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 1   been placed beyond the jurisdiction of the court; (d) has been

 2   substantially diminished in value; or (e) has been commingled with

 3   other property that cannot be divided without difficulty.

 4

 5                                             A TRUE BILL
 6

                                                           /s/
 7

 8                                             Foreperson
 9
      NICOLA T. HANNA
10    United States Attorney
11

12
      BRANDON D. FOX
13    Assistant United States Attorney
      Chief, Criminal Division
14
      MACK E. JENKINS
15    Assistant United States Attorney
      Chief, Public Corruption and
16      Civil Rights Section
17    VERONICA DRAGALIN
      Assistant United States Attorney
18    Public Corruption and Civil
        Rights Section
19
      MELISSA MILLS
20    Assistant United States Attorney
      Public Corruption and Civil
21      Rights Section
22

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